 1
 2            UNITED STATES DISTRICT COURT
               NORTHERN  DISTRICT OF OHIO
 3                  EASTERN DIVISION
 4
 5
     ESTATE OF GREGORY      )CASE NO. 4:17-CV-02383
 6   WRIGHT,et al.          )JUDGE BENITA Y. PEARSON
                            )
 7                          )
                 Plaintiffs )   DEPOSITION OF
 8   vs.                    )
                            )  PHILLIP MALVASI, D.O.
 9   TRUMBULL COUNTY BOARD  )
     OF COMMISSIONERS,et al )
10                          )
                            )
11              Defendants  )
12
13
14             Deposition taken before me, Micheline
15   Simoni, Notary Public within and for the State
16   of Ohio, on the 12th day of July, 2018, at
17   10:10 AM, pursuant to notice, taken at the
18   offices of Trumbull County Jail, 150 High
19   Street, Warren, Ohio, 44481, to be used in
20   accordance with the Federal Rules of Civil
21   Procedure or the agreement of the parties in
22   the aforesaid cause of action pending in the
23   United States District Court within and for the
24   Northern District of Ohio, Eastern Division.
25


                 SIMONI COURT REPORTING
                WARREN/YOUNGSTOWN, OHIO
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                                                 Exhibit A
                                                   2


 1                A P P E A R A N C E S
 2
     On Behalf of the Plaintiff:
 3      Gilbert W. R. Rucker, III, Esq.
        1569 Woodland St., Ste. 10
 4      Warren, Ohio 44483
 5
 6
     On Behalf of the Defendant Trumbull County Board
 7   of Commissioners:
       Patricia Ambrose Rubright, Esq.
 8     Mazanec, Raskin & Ryder Co., LPA
       100 Franklin's Row
 9     34305 Solon Road
       Cleveland, Ohio 44139
10
11
12
     On Behalf of the Defendant Phillip Malvasi,
13   D.O.:
       Leah M. Hohenberger, Esq.
14     Dickie McCamey & Chilcote, P.C.
       600 Superior Avenue East, Ste. 2330
15     Cleveland, Ohio 44114
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 1                   P R O C E E D I N G S
 2                   PHILLIP MALVASI, D.O.
 3   having been duly sworn according to law, on his
 4   oath, testified as follows:
 5                     CROSS EXAMINATION
 6   BY MR. RUCKER:
 7   Q.   Dr. Malvasi, you and I have met on
 8                multiple occasions.   I'm Gilbert
 9                Rucker.   I represent the Plaintiff in
10                this action.   I'm going to ask you,
11                but I already know the answer.      Have
12                you been deposed before?
13   A.   Yes, Sir.
14   Q.   Okay.     You're fully aware that your
15                answers have to be verbal and are
16                being taken down by a court reporter.
17   A.   Yes.
18   Q.   And, if it's okay, I'll call you "Doctor"
19                as opposed to using your full name.
20                Is that okay with you?
21   A.   Yes.
22   Q.   You're aware that if you have any
23                questions, if my questions are not
24                clear, indicate to me that you don't
25                understand a question and I'll


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 1               rephrase it.     That's my obligation.
 2                       If you need to take a break, you
 3               need to get water or anything, then
 4               that's fine.     I only ask that you
 5               allow me to complete the question.
 6   A.   Yes.
 7   Q.   I'm going to be relying on your responses
 8               and taking those responses to be
 9               true.     So, I would ask that when you
10               answer a question -- and you have
11               always been good at this -- that you
12               answer it to the best of your
13               knowledge, that you not guess or
14               presume, or anything along that line.
15               Okay?
16   A.   Yes, Sir.
17   Q.   Ready to go?
18   A.   Yes, Sir.
19   Q.   Would you state your full name spelling
20               your last name for the court
21               reporter, please?
22   A.   Phillip Malvasi, M-A-L-V-A-S-I.
23   Q.   Dr. Malvasi, where are you employed?
24   A.   I'm self-employed.
25   Q.   Under what name do you operate?


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 1   A.   Phillip Malvasi, D.O., LLC.
 2   Q.   Do you have any other LLCs?
 3   A.   I have a Correctional Healthcare LLC.
 4   Q.   Is that currently operating?
 5   A.   It's not operating.     It's still in
 6                existence.
 7   Q.   Are you under contract with Trumbull
 8                County?
 9   A.   Yes.
10   Q.   And that contract is under what name?
11   A.   Phillip Malvasi, D.O.
12   Q.   And the people that you employ to work at
13                Trumbull County Jail, are they -- by
14                what entity are they employed?
15   A.   The same.
16   Q.   When you say "the same," that's Phillip
17                Malvasi, LLC?
18   A.   Yes.
19   Q.   Your contract with the County is not
20                signed an LLC; is it not?
21   A.   No.     Just Phillip Malvasi, D.O.
22   Q.   Okay.     So, the contract between you and
23                the County to provide medical
24                services at Trumbull County Jail is
25                between the County and you, as an


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 1                individual.    Is that correct?
 2   A.   Yes.
 3   Q.   Or sole proprietor; and not as a
 4                corporation?
 5   A.   I just obtained the LLC; Phillip Malvasi,
 6                D.O., LLC, probably within the last
 7                year or two.
 8   Q.   Okay.     How long have you been under
 9                contract with Trumbull County?
10   A.   2000, 2001.
11   Q.   You are a licensed physician in the State
12                of Ohio; is that correct?
13   A.   Yes, Sir.
14   Q.   At any time in May of 2017 did you render
15                any treatment personally to Gregory
16                Wright, an inmate at Trumbull County
17                Jail?
18   A.   No, Sir.
19   Q.   Did you see him in any sick call?
20   A.   No, Sir.
21   Q.   Did you render any medical diagnosis to
22                your employees at Trumbull County
23                Jail between the time period of May 3
24                to May 5, including May 5, 2017?
25   A.   No.


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 1                     MS. HOHENBERGER:   As to
 2   Mr. Wright?     Is that what you're asking?
 3                     MR. RUCKER:   As to Mr. Wright.
 4   A.   No.
 5   Q.   So, you made no diagnosis?
 6   A.   No.
 7   (PLAINTIFF'S EXHIBIT 1 MARKED)
 8   Q.   Doctor, I'm going to hand you what is
 9               marked as Deposition Exhibit 1.    Are
10               you familiar with that document?
11   A.   Yes.
12   Q.   What is that document?
13   A.   Medication Admission Record.
14   Q.   Is it Medication Administration Record?
15   A.   Yes.
16   Q.   Is that commonly called "MARS"?
17   A.   Yes.
18   Q.   What is the purpose of MARS?
19   A.   To track inmates' medications while they
20               are in prison.
21   Q.   If you note on the first bracket, the date
22               is 5-3-17?
23   A.   Correct.
24   Q.   And the date under that; what is that?
25   A.   Expiration date.


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 1   Q.   Okay.     And it's 8-3-17?
 2   A.   Correct.
 3   Q.   When you say "expiration date" what does
 4                that mean?
 5   A.   That's the date the medication would need
 6                to be renewed or re-ordered because
 7                it's given 30 days with two refills.
 8   Q.   And then in the next block it indicates
 9                "Xeralto."   Is that the proper
10                pronunciation of it?
11   A.   Yes.
12   Q.   And it's 20 milligrams?
13   A.   Yes.
14   Q.   What's that next one?
15   A.   "PO."
16   Q.   And what's that for?
17   A.   Oral.
18   Q.   And in the corner it says "HO."      What does
19                that mean?
20   A.   Home med.
21   Q.   That indicates he brought that in?
22   A.   Right.
23   Q.   Okay.     And the next notation, "X" -- what
24                does that notation mean?
25   A.   That's 30 days with two refills.      That


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 1               gives you the 90 days with the
 2               expiration date of 8-3-17.
 3   Q.   And then it states an hour -- "8A."       Is
 4               that 8:00 a.m.?
 5   A.   Yes.
 6   Q.   Is that when the med pass is supposed to
 7               take place?
 8   A.   Yes.
 9   Q.   And then we'll come down to the third --
10               there's an arrow.   What is that
11               indicating?
12   A.   That's the first day that he received the
13               med, on the 4th.
14   Q.   Did he also receive that on the 5th?
15   A.   Yes.
16   Q.   Then we come down to the next block; and
17               the date on that is, what, 5-5-17?
18   A.   5-5-17.
19   Q.   And in the block it's "IBU."     What does
20               that indicate?
21   A.   Ibuprofen.
22   Q.   200 milligrams?
23   A.   Correct.
24   Q.   And what does that "2" indicate?
25   A.   He could have two of them by mouth twice a


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 1                day.
 2   Q.   Okay.     And the next hour block it says
 3                "8:00 a.m." as well as "8:00 p.m."?
 4   A.   Correct.
 5   Q.   Would that indicate that he was to receive
 6                a dose at 8:00 a.m. and another dose
 7                at 8:00 p.m.?
 8   A.   Yes.
 9   Q.   And are those the times that "Med pass" is
10                done?
11   A.   Yes.
12   Q.   Is that routinely done at 8:00 a.m. and
13                8:00 p.m.?
14   A.   Yes.
15   Q.   And that's done by the medical assistants?
16   A.   Yes.
17   Q.   Now, is there any indication that
18                Ibuprofen was given to Mr. Wright on
19                this document?
20   A.   No.
21   Q.   Okay.     If we come down one other block, it
22                says "Imodium."   Correct?
23   A.   Yes.
24   Q.   And it indicates a date of 5-5-17, and it
25                indicates "two milligrams by mouth."


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 1                Is that correct?
 2   A.   Correct.
 3   Q.   Would that be given just once a day?
 4   A.   "BID" is twice a day, "QD" is once a day.
 5                So, BID, this is twice a day, too;
 6                8:00 a.m. and 8:00 p.m.
 7   Q.   And there's no indication that that was
 8                given at all; is that correct?
 9   A.   Correct.
10   Q.   And the next block indicates "Maalox, 30
11                CC, on 5-5-17 orally, twice a day."
12                But, there's no indication that that
13                was ever given.    Is that correct?
14   A.   Correct.
15   Q.   If we come down we'll see where there's a
16                signature.   Is that initial -- where
17                there's a "C"?
18   A.   Yes.
19   Q.   And next to that is a signature.       Whose
20                signature is that?
21   A.   Carla Ahart.
22   Q.   Okay.     And if we continue to move to the
23                right, we'll see another initial,
24                "R"?
25   A.   Correct.


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 1   Q.   And whose signature is that?
 2   A.   Rachel Hake.
 3   Q.   Okay.     What are they attesting to by their
 4                signatures on this document?
 5   A.   That they are the ones that are passing
 6                meds.
 7   Q.   Does that document indicate that
 8                Mr. Wright should be receiving
 9                Ibuprofen, Imodium, and Maalox?
10   A.   Yes.
11   Q.   And this MARS is for Gregory Wright; is
12                that correct?
13   A.   Yes.
14   Q.   And next to his name, is that "TCJ"?
15   A.   Yes.
16   Q.   And it has "Malvasi," is that correct?
17   A.   Correct.
18   Q.   What is that next block?        Do you know what
19                that next block says?
20   A.   That's the month and the year.
21   Q.   So, you're charting for May of 2017?
22   A.   Correct.        These only last one month,
23                according to -- the top has the 1 to
24                31.     So, every month these need to be
25                changed.     The next month would be a 6


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 1                of 17.
 2   Q.   For them to have placed on this document,
 3                "Ibuprofen, Imodium, and Maalox,"
 4                would they have had to receive
 5                instructions from you to do that?
 6   A.   No.     These are over-the-counter
 7                medications.
 8   Q.   So, is it your understanding that medical
 9                assistants can administer
10                over-the-counter medications without
11                your approval?
12   A.   Yes.
13   (PLAINTIFF'S EXHIBIT 2 MARKED)
14   Q.   Doctor, I'm going to hand you what is
15                marked as Deposition Exhibit 2.     Are
16                you familiar with this document?
17   A.   Yes.
18   Q.   What is this document?
19   A.   Physician Order Form.
20   Q.   Okay.     The top of it says "Physicians
21                Order Form."     What is the purpose of
22                this document?
23   A.   This gets faxed to the pharmacy to get
24                medications filled and sent back.
25   Q.   When we look at the first box it indicates


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 1                the name of the inmate, which is
 2                Gregory Wright; is that correct?
 3   A.   Correct.
 4   Q.   His date of birth, his allergies --
 5                aspirin?
 6   A.   Yes.
 7   Q.   And the date -- is that the date of the
 8                order?
 9   A.   Yes.
10   Q.   Coming across it says "Bactrim."            What is
11                that?
12   A.   An antibiotic.
13   Q.   What is that typically used for?
14   A.   Infections.
15   Q.   Do you recall what the infection was?
16   A.   No.
17   Q.   Okay.     And at the bottom of that it says
18                "TO: Dr. Malvasi/."          Who is that?
19   A.   Raymond Gallanti.
20   Q.   Who is Raymond Gallanti?
21   A.   He was a medical assistant in the past.
22                        MS. HOHENBERGER:      We are talking
23   about 8-28-16?
24                        MR. RUCKER:   Yes.
25   Q.   Okay.     If we come down one block, we have


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 1                the same name, "Greg Wright,
 2                Gregory"?
 3   A.   Yes.
 4   Q.   Same date of birth?
 5   A.   Yes.
 6   Q.   "Allergies, ASA."        What is "ASA"?
 7   A.   Aspirin.
 8   Q.   Date 5-3-17.        And, it indicates "Xeralto."
 9                What's that on number 2?
10   A.   "Dressing changes PRN until healed."
11   Q.   Was this sent to you?        It says, "To:
12                Dr. Malvasi."
13   A.   No, it doesn't say "To: Dr. Malvasi."
14   Q.   What does that say?
15   A.   It says "Telephone order Dr. Malvasi."
16   Q.   Okay.     So, what does it mean, "Telephone
17                order Dr. Malvasi"?
18   A.   That they called me and asked me -- they
19                said, "This inmate brought this
20                medication in, and is he okay to have
21                it?"
22   Q.   So, they had indicated to you that he was
23                on Xarelto?
24   A.   Correct.       Just like the previous one,
25                Raymond called me on is Bactrim.     He


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 1                must have brought in the Bactrim, and
 2                he had ten days left of it; so, is it
 3                okay to give it to him?     Yes.
 4   Q.   Okay.     What we saw on Exhibit 1; the
 5                Ibuprofen, the Imodium, and the
 6                Maalox, is that referred to as a
 7                "protocol"?
 8   A.   No.
 9   Q.   It's not?
10   A.   No.
11   Q.   Do you have a protocol for withdrawal from
12                heroin?
13   A.   No.
14   Q.   Is Heroin an opiate?
15   A.   Yes.
16   Q.   Do you have an opiate withdrawal policy?
17   A.   Yes.
18   Q.   And what is that?
19   A.   Medications for me, for severe
20                withdrawals?
21   Q.   Yes.     What is it comprised of?
22   A.   Medications that help with the symptoms of
23                a severe withdrawal.
24   Q.   Do you have specific drugs that you have
25                the medical assistants administer for


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 1                withdrawals?
 2   A.   With an order from me, yes.
 3   Q.   Okay.     If there's no order from you, they
 4                are not to administer any drugs?
 5   A.   No prescription medications.
 6   Q.   Ibuprofen is not a prescription
 7                medication, is it?
 8   A.   There's a list of over-the-counter
 9                medications that inmates will ask for
10                on a regular basis.     If they have a
11                headache, Tylenol.     If they have a
12                cough, cough medicine.     If they are
13                constipated, diarrhea.     It's
14                basically the same medications that's
15                in their cabinets at home that they
16                could grab.     But, of course, they
17                can't keep them on them in the
18                correctional setting.     They have to
19                be kept by the staff, and that
20                clarifies it.
21   Q.   So, you do not have a routine policy of
22                Ibuprofen, Maalox, and Imodium that
23                is termed as a "withdrawal protocol"?
24   A.   This treats their signs and symptoms.
25   (PLAINTIFF'S EXHIBIT 3 MARKED)


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 1   Q.   They have handed you what's captioned as
 2               General Assessment Form.     Are you
 3               familiar with that document?
 4   A.   Yes.
 5   Q.   And what is that document?
 6   A.   General Assessment Form.
 7   Q.   What is its purpose?
 8   A.   Just a streamlined charting for an inmate
 9               that's seen.
10   Q.   And this inmate is Gregory Wright?
11   A.   Yes.
12   Q.   And this is dated May 5, 2017?
13   A.   Yes.
14   Q.   And it indicates "12:15."       Is that a.m.?
15   A.   It says "A" and it's cut off.
16   Q.   And the complaint and subjective data; it
17               says, "Coming off heroin.     Says, 'I'm
18               sick.'   Won't tell me anything else."
19                    Okay, and it indicates the
20               medication as Xarelto.     For "Level of
21               Consciousness," what does that say?
22   A.   "Alert and oriented times three."
23   Q.   And what does that -- "Alert and oriented
24               times three," indicate in layman's
25               terms?


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 1   A.   That he's alert and oriented to person,
 2                place, and time.
 3   Q.   Okay.     And the general appearance is
 4                "disheveled"?
 5   A.   Yes.
 6   Q.   "Skin appearance is clammy.     No indication
 7                of blood pressure, pulse,
 8                respiration" --
 9   A.   Yes.
10   Q.   What does the "T" stand for?
11   A.   Temperature.
12   Q.   What does "SPO 2 percent" indicate?
13   A.   Pulse oximetry.
14   Q.   Okay.     There's no indications in that; is
15                that correct?
16   A.   Yes.
17   Q.   Would you expect that when a general
18                assessment form is completed that
19                they would take the vitals -- are
20                those considered to be vitals?
21   A.   Well, the statement underneath says,
22                "Unable to obtain vital signs due to
23                inmate being uncooperative."     So, I
24                don't think -- she was unable to do
25                vital signs secondary to the inmate's


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 1                being uncooperative.
 2   Q.   But, would it be your expectation,
 3                generally speaking, that if an inmate
 4                comes in and is complaining that he's
 5                sick and he's coming off heroin, that
 6                they would take the vitals?
 7   A.   They do do the vitals.
 8   Q.   And why is it important that they do the
 9                vitals?
10   A.   Just to have an understanding of the blood
11                pressure, the pulse, the respiration.
12   Q.   Okay.     And, as a physician, what would
13                that indicate to you?   Why would you
14                look at vitals?
15   A.   To assess a patient thoroughly.
16   Q.   When you say, "to assess a patient
17                thoroughly," there are vitals that
18                are within a normal range; is that
19                correct?
20   A.   Correct.
21   Q.   And when your vitals are outside of that
22                normal range, what would that
23                normally, as a physician, cause you
24                to do -- as a physician?
25   A.   It would depend on the treatment.       It


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 1                would depend on which one we're
 2                dealing with.
 3                     If it's blood pressure, it
 4                depends on what the treatment would
 5                be, if the patient needs treatment.
 6   Q.   Okay.     And they would be important in your
 7                making a diagnosis; is that a correct
 8                statement?
 9   A.   Yes.
10   Q.   As you read, it indicated that the patient
11                was uncooperative?
12   A.   Yes.
13   Q.   How long have you been a physician?
14   A.   Twenty years.
15   Q.   Have you, in your 20 years practicing
16                medicine, ever seen where someone is
17                uncooperative as a symptom or a sign
18                of their medical condition?
19   A.   I'm not sure if I understand the question.
20   Q.   Okay.     Could a patient be confused or in a
21                disoriented state; and, for an
22                untrained observer to see that as
23                being uncooperative?   Is that
24                possible?
25   A.   Are you talking in general or this


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 1                patient?
 2   Q.   In general.
 3   A.   Because he's alert and oriented; so, I
 4                wouldn't think of the description you
 5                give.   I would want to know if this
 6                is my general patients, or just
 7                anybody?
 8   Q.   Just general.
 9   A.   Yes.
10   Q.   Okay.     Now, specifically to you, since the
11                medical assistant indicates that they
12                are alert and oriented to time,
13                place -- and what else?
14   A.   Person, place, and time.
15   Q.   Person, place, and time -- then it would
16                be your, based on that annotation,
17                that he was not disoriented or that
18                his, what is considered to be
19                uncooperative, was not a symptom of
20                any underlying medical condition.      Is
21                that correct?
22   A.   Correct.
23   Q.   Under that it indicates, "Treatment Plan."
24                What is a treatment plan?
25   A.   A treatment plan is for the medical


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 1                assistants to give medications based
 2                on the symptoms of what he's telling
 3                her that he's going through heroin
 4                withdrawals.
 5   Q.   Okay.     Now, who determines the treatment
 6                plan?
 7   A.   It's a protocol for, like, signs and
 8                symptoms of what an inmate might
 9                present with.    If an inmate presents
10                with a headache, it's okay to give
11                him Tylenol.    When he comes up and
12                he's complaining of a cough, it's
13                okay to give him cough medicine.       If
14                he's nauseous you give medication for
15                nausea that are not prescriptions.
16                They are over-the-counter.
17   Q.   Who would determine what treatment plan to
18                give an inmate based on their
19                complaint?
20   A.   It would be on my list of medications that
21                are approved to give for what they
22                are going through -- their symptoms.
23   Q.   So, if an inmate came in and complained of
24                a headache, you have some list that
25                says, "If the inmate complains of a


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 1                headache, give him this"?     Is that
 2                what you're saying?
 3   A.   Mostly they come up and they come to the
 4                cart and they say, "I'm having a
 5                headache.     Could I have some aspirin
 6                or Tylenol?     Or, they might say
 7                they're constipated, or nauseous, or
 8                have heartburn.     They have the
 9                medications that they are allowed to
10                supply to them for a limited amount
11                of time.
12   Q.   And they don't need your approval to do
13                this?
14   A.   No.
15   Q.   Okay.     What is Imodium used for?
16   A.   Stomach issues, nausea.
17   Q.   Vomiting?
18   A.   Vomiting.       Maalox for the vomiting,
19                Imodium for the diarrhea.
20   Q.   And Ibuprofen?
21   A.   Generalized; headaches, pain, swelling.
22   Q.   So, based on this general assessment form
23                which was done by -- is that Medical
24                Assistant Hake?
25   A.   Yes.


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 1   Q.   That on her own judgment she entered into
 2                a treatment plan of Ibuprofen,
 3                Imodium, and Maalox to Mr. Wright?
 4                     MS. HOHENBERGER:     I'm just going
 5   to object, because the document speaks for
 6   itself.
 7   A.   She uses the protocol that's for the signs
 8                and symptoms of nausea, vomiting,
 9                that's she's trained to do.
10   Q.   Okay.     None of those signs or symptoms are
11                indicated on this form; is that
12                correct?
13   A.   Correct.
14   Q.   What are the signs and symptoms that will
15                warrant Ibuprofen, Imodium, and
16                Maalox?
17   A.   Him coming off the heroin.
18   Q.   So, if an inmate is coming off of heroin,
19                then the medical assistants have your
20                authority without consulting you, to
21                administer Ibuprofen, Imodium, and
22                Maalox.    Is that correct?
23   A.   It's used to give him -- to treat his
24                signs and symptoms.     Of course, you
25                know, we can't give heroin as a


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 1                withdrawal for heroin.    On the
 2                streets when you withdraw from
 3                heroin, what do you do?    You go get
 4                more heroin.
 5                     In a correctional setting, you
 6                have to give whatever is non-opiate,
 7                non-narcotic, in this type of setting
 8                to help them alleviate through the
 9                symptoms.   It's a protocol that we've
10                used for years that's been successful
11                in treating their signs and symptoms
12                to help them alleviate their
13                discomfort with going through the
14                detoxification of the heroin.
15   Q.   Okay.     How long, if you know, at the time
16                of this general assessment form had
17                Rachel Hake been a medical assistant?
18   A.   I'm not sure.
19   Q.   How long has she been working for you at
20                the time of this assessment?
21   A.   I'm not sure.
22   Q.   You have a private practice; is that
23                correct?
24   A.   Yes, Sir.
25   Q.   And how long have you had a private


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 1               practice?
 2   A.   Twenty years.
 3   Q.   And what type of patients do you see in
 4               your private practice?
 5   A.   Pretty much any type of family medicine
 6               issues from diabetes, hypertension --
 7               I mean, everything -- fractures,
 8               ankle sprains, anything you would see
 9               your family doctor for, from A to
10               Xarelto.
11   Q.   Do you have a staff at your private
12               practice?
13   A.   Yes.
14   Q.   Where is your private practice located?
15   A.   1017 Youngstown Warren Road, Niles, Ohio.
16   Q.   How far is that from the jail?
17   A.   Five minutes.
18   Q.   How many staff do you have at your private
19               practice?
20   A.   Three.
21   Q.   And what are their names?
22   A.   Debbie Cornicelli, Chris Smith, and Amy
23               Shepherd.
24   Q.   What is Debbie Cornicelli's licensure?
25   A.   She's a medical assistant.


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 1   Q.   And who was the next one?
 2   A.   Christina Smith.
 3   Q.   And what is her licensure?
 4   A.   Medical assistant.
 5   Q.   And what's her last name -- Smith?
 6   A.   Christina Smith.
 7   Q.   And the next one you indicated?
 8   A.   Amy Shepherd.
 9   Q.   And her licensure?
10   A.   None.
11   Q.   So, what are her duties?
12   A.   Make appointments, collect copays.
13   Q.   She's just an office person?
14   A.   General secretary.
15   Q.   And that said; technically speaking, under
16                Ohio they have no license.    Is that
17                correct?
18   A.   They are licensed as medical assistants.
19   Q.   Okay.     Is the proper term "registered" as
20                a -- under the Statute of Ohio it
21                says "unlicensed individual."    Is a
22                medical assistant considered to be an
23                unlicensed individual?
24                     MS. HOHENBERGER:    If you know.
25   Q.   You don't know?


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 1   A.   I don't know.
 2   Q.   What are the limitations of a medical
 3                assistant?     What is it that they are
 4                not allowed to do?
 5                     MS. HOHENBERGER:     Objection.
 6   A.   They are not allowed to practice medicine.
 7   Q.   Are they allowed to make a diagnosis?
 8   A.   No.
 9   Q.   Okay.     Is there anything else that you
10                know that they are not allowed to do?
11   A.   They are not allowed to prescribe
12                medication.
13   Q.   Are they allowed to make independent
14                judgments?
15                     MS. HOHENBERGER:     Objection.
16   A.   What do you mean by "independent
17                judgments"?
18   Q.   To look at an inmate and say, "Well, he's
19                coming off of heroin."     Are they
20                allowed to make that?
21   A.   Yes.     It's just like in my office, my
22                staff there.     When they see a
23                patient, they write the subjective
24                and objective on a note of why they
25                are coming in and assess what the


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 1                patient tells them.
 2                     Same thing in the correctional
 3                setting.   The inmates tell them,
 4                "Here is my subjective complaint."
 5   Q.   Okay.     And in your private practice if
 6                someone came in and they said, "I
 7                think I'm coming off of heroin," to
 8                your medical assistant, what would
 9                your medical assistant do?
10   A.   Document it.
11   Q.   Would she give you the chart on which she
12                documented it?
13   A.   And then I'll see the patient after she
14                puts the chart in the room.
15   Q.   Then when you go see the patient would you
16                say, "My medical assistant says
17                you're coming off of heroin based on
18                what you told her."   So, that about
19                settles it.   Is that what you do?
20   A.   I have never had anybody in 20 years come
21                to my office when coming off of
22                heroin.
23   Q.   Well, any medical condition.      If a person
24                comes into your office and diagnoses
25                their own problem -- the patient --


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 1               and says, "I have this issue," you
 2               would still investigate that issue.
 3               Is that correct?
 4   A.   Yes.
 5   Q.   You don't take your patient's word as your
 6               final diagnosis; do you?
 7   A.   A lot of times I do.
 8   Q.   You do?    So, if your patient came in with
 9               a headache and said, "I just have a
10               headache.   I'm just stressing."
11               Would you take their vitals?
12   A.   No.
13   Q.   You wouldn't?
14   A.   No.
15   Q.   What would you do in a situation like
16               that?
17   A.   My medical assistant would take vitals.
18   Q.   Would your medical assistant hand you
19               those vitals?
20   A.   Yes.
21   Q.   And you would go deeper than what the
22               patient indicated to you?
23   A.   Correct.
24   Q.   Are there times when -- have you ever
25               encountered the situation where the


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 1               problem that the patient was actually
 2               having was greater than the problem
 3               they thought they were having?
 4   A.   If you could give me an example -- I'm not
 5               sure.
 6   Q.   Let me phrase that differently.       When a
 7               patient comes in and diagnoses
 8               themselves, have you ever found that
 9               the actual problem that they were
10               having was different than the one
11               they thought they were having?
12   A.   Yes.
13   Q.   That's not unusual, is it?
14   A.   No.
15   Q.   And, so, what the patient -- because in
16               the past they had a headache, and
17               that headache just turned out to be
18               because of stress, doesn't mean that
19               when they come back a year later that
20               that headache is still related to
21               stress.     Is that correct?
22                       Is it possible a headache could
23               be related to a brain tumor?
24   A.   Yes.
25   Q.   So, if it was related to stress last year


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 1                it could be related to something
 2                totally different this year?
 3   A.   That same headache for a year?
 4   Q.   Let's say for a year.
 5   A.   I would hope to see them back before that
 6                year to reassess my findings.
 7   Q.   But you would reassess your findings?
 8   A.   Yes.
 9   Q.   And if they had a problem a year ago and
10                you didn't see them for a year but
11                they came back, you would not rely on
12                last year's records for this year's
13                assessment.   Is that correct?
14   A.   For the same chief complaint?
15   Q.   Yeah.
16   A.   I would look at them and review them; but,
17                I wouldn't make any assessment based
18                on my last year's findings.
19   Q.   And that's why you're the doctor and they
20                are the medical assistant; is that
21                correct?
22                     MS. HOHENBERGER:   Objection.
23   A.   Yes.
24   Q.   What is anticoagulant therapy?
25   A.   Blood thinners.


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 1   Q.   Blood thinners?
 2   A.   Yes.     That helps not coagulate the blood.
 3   Q.   Under what circumstances would you use
 4                something like that?
 5   A.   It depends on which one we are talking
 6                about.
 7   Q.   Mr. Wright -- were you aware that he was
 8                on anticoagulant therapy?
 9   A.   Yes.
10   Q.   Xarelto is an anticoagulant?
11   A.   Yes.
12   Q.   What was the medical condition that
13                Mr. Wright had that necessitated him
14                being on that therapy?
15   A.   A blood clot.
16   Q.   Okay.     Were you ever made aware that he
17                had blood clots?
18   A.   When?
19   Q.   From the time he came in on May 3, 2017,
20                to the time he was deceased on May 5,
21                2017.
22   A.   I'm not sure.
23   Q.   Did a medical assistant contact you and
24                indicate to you that, "We just
25                received an inmate who has blood


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 1                clots and is on Xarelto"?
 2   A.   I can't remember.
 3   Q.   Okay.     If they did call you, would you
 4                expect that to be annotated in
 5                medical records somewhere?
 6   A.   Yes.
 7   Q.   And what record would that be annotated
 8                on?
 9   A.   The physician orders.
10   Q.   Is that what we looked at -- Exhibit 1?
11   A.   Exhibit 2, line 2.
12   Q.   And does it indicate here that they did
13                talk with you or informed you of
14                that?
15   A.   Yes.
16   Q.   So, you were aware that he was on n
17                anticoagulant?
18   A.   Yes.
19   Q.   Okay.     What is a non-steroidal
20                anti-inflammatory drug?
21   A.   Motrin, Tylenol, Aleve, Advil, Mobic,
22                Naprosyn.
23   Q.   Is Ibuprofen?
24   A.   Yes.
25   Q.   And is the word -- is it "NSAIDS"?


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 1   A.   Non-steroidal anti-inflammatory drugs.
 2   Q.   So, Ibuprofen is an NSAID?
 3   A.   Yes.
 4   Q.   What are NSAIDS used for?
 5   A.   Inflammation, pain, headaches.
 6   Q.   What is the risk of mixing an NSAID with
 7               an anticoagulant?
 8   A.   You just have to watch -- if you are using
 9               it as a chronic non-steroidal, which
10               is Xarelto, for three to six months,
11               you have increased risk of bleeding.
12   Q.   And is that something your medical
13               assistants would know?
14   A.   Some may, some may not.
15   Q.   Specifically your medical assistants.
16   A.   I can't say for sure.
17   Q.   Have you trained them on that?
18   A.   We have trained them that -- they are only
19               trained for short periods of time for
20               Tylenol, Motrin.    That's why he's
21               limited to 18 doses; because, if
22               there's an issue after that, then I
23               need to know about it.
24                    Just like if somebody comes in
25               with a headache and they get their 18


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 1                doses we need to assess why and not
 2                wait a year to find out if he has a
 3                brain tumor.
 4   Q.   Have you read any treatises on the mixing
 5                of anticoagulants and NSAIDs?
 6   A.   Yes.
 7   Q.   Can you tell me what treatises you have
 8                read on that?
 9   A.   Just the Physicians' Desk Reference, PDR.
10   Q.   And what is the time period that is
11                indicated in which there could be an
12                adverse result from that mixture?
13   A.   Long term chronic NSAID use; usually 3 to
14                6 months.
15   Q.   Okay.     So, you have not read any treatises
16                that would indicate that a single
17                dose could possibly cause a major
18                bleed?
19   A.   No.
20   Q.   Okay.     So, if a pulmonary and critical
21                care specialist indicated that some
22                bleeds happen within a single dose,
23                you would disagree with that?
24   A.   I would have to read the study and find
25                out how many people were in the group


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 1                study.
 2   Q.   Okay.     So, you could not disagree with
 3                that right now?
 4   A.   No.
 5   Q.   In your private practice, if a patient
 6                came in and they were on Xarelto,
 7                would you give them Ibuprofen?
 8   A.   I do.
 9   Q.   Do you consider the effect of giving them
10                Ibuprofen before giving it to them?
11   A.   Yes.
12   Q.   Are there alternatives to NSAIDs?
13   A.   Yes.
14   Q.   What are those alternatives?
15   A.   Narcotics.
16   Q.   So, the only alternatives to NSAIDs are
17                prescription narcotics?
18   A.   Correct -- and someone with an aspirin
19                allergy.
20   Q.   So, when I asked you, I wasn't talking
21                about -- generally speaking.     I
22                should be more specific.
23   A.   I read your mind.
24   Q.   Generally speaking, aspirins are an
25                alternative to NSAIDs?


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 1   A.   Yes.
 2   Q.   But, to someone with an aspirin allergy
 3                you're saying that only a narcotic
 4                would do that?
 5   A.   Correct.
 6   Q.   Now, are all -- what's the --
 7   A.   NSAIDs.
 8   Q.   -- acetaminophens.
 9   A.   Tylenol.
10   Q.   Are they all -- if you have an aspirin
11                allergy, does that preclude you from
12                taking acetaminophen?
13   A.   No.
14   Q.   So, you're not allergic to all aspirins?
15   A.   Well, acetaminophen is Tylenol, which is
16                different from aspirin, just like
17                NSAIDS are different from -- there
18                are three categories; aspirin, like
19                Bayer baby aspirin; Ibuprofen being
20                Motrin, Naprosyn, Aleve, Advil.     And
21                then Tylenol, being -- acetaminophen
22                being the generic name for Tylenol,
23                Tylenol Extra Strength.
24   Q.   Okay.     Acetaminophens are only Tylenols?
25   A.   Correct; which is an NSAID, but, it's not


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 1               categorized as the Ibuprofen NSAIDs.
 2   Q.   So, when he says he has an allergy to
 3               aspirin, which specific aspirins
 4               would he have an allergy to?
 5   A.   Straight aspirin.       Bayer aspirin.
 6   Q.   But he could take Tylenol?
 7   A.   Yes.
 8   Q.   And Tylenol is not a narcotic?
 9   A.   No.
10   Q.   So, the only non-NSAID medications you're
11               indicating are your Bayer Aspirin?
12   A.   Correct.
13   Q.   And that when there's annotated on that
14               there's an allergy to aspirin, you're
15               taking that to mean he can't take
16               aspirins?
17   A.   Correct.
18   Q.   So, you chose to give him Ibuprofen rather
19               than to give him aspirin?
20   A.   Yes.
21   Q.   If you have an aspirin allergy and you
22               give him aspirin what would be the
23               result?
24   A.   It varies.       Some patients have aspirin
25               allergies that can go into an


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 1               anaphylactic action.   Some can just
 2               have rashes, difficulty swallowing.
 3   Q.   If your blood pressure is high, would that
 4               have an effect on what you would
 5               prescribe?
 6   A.   Yes.
 7   Q.   What effect would that have had?
 8   A.   If someone's blood pressure is high?
 9   Q.   Yes.
10   A.   Just to monitor the blood pressure and
11               possibly start treatment on them.
12   Q.   Knowing they are coming off of heroin, and
13               they have a high blood pressure
14               reading, would that have made any
15               difference to you in your treatment
16               plan for them?
17   A.   I would expect when coming off heroin they
18               get anxious and it usually causes a
19               spike in their blood pressure; but
20               usually not treated.   We just watch
21               for signs and symptoms and continue
22               to monitor on a regular basis every
23               shift.
24   Q.   What are the signs and symptoms of if you
25               are reacting to the mixture of an


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 1             NSAID and an anticoagulant?
 2   A.   None that I am aware of.
 3   Q.   When you say none that you are aware of,
 4             are you indicating that there are no
 5             signs and symptoms, or you're just
 6             not aware of them?
 7   A.   Taking Xarelto and an NSAID; signs and
 8             symptoms?
 9   Q.   Uh huh.   Yes.
10   A.   None that I am aware of.
11   Q.   So, if I indicated to you severe shortness
12             of breath, cough with bloody mucus,
13             pain in one leg or arm, inability to
14             move one side or both sides of your
15             body, drooping on both sides of the
16             face, speaking difficulties, blurred
17             vision, sudden and severe headaches,
18             swelling and change of color of an
19             arm or leg; you would not recognize
20             those as any signs and symptoms of
21             the mixing of Xarelto and Ibuprofen?
22   A.   That sounds like a stroke.
23   Q.   Can you say that those would not be signs
24             of mixing Ibuprofen and
25             anticoagulants?


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 1   A.   When you're on Xarelto for deep vein
 2             thrombosis you may have signs and
 3             symptoms that when that clot breaks
 4             off, it goes to your head; and, those
 5             are the signs and symptoms that you
 6             look for that when the plaque breaks
 7             off the clot in your leg, it goes to
 8             your head.   Or it can go to your
 9             heart and cause a heart attack, or
10             your head for a stroke.
11                  Basically, those symptoms are
12             the things you need to worry for the
13             treatment of DVT; that if you have a
14             patient that has slurred speech,
15             weakness or one side or both sides of
16             the body, then you're dealing with a
17             cerebral vascular accident.
18   Q.   A stroke is not a good thing to have,
19             either; is it?
20   A.   Not usually.
21   Q.   So, if those signs and symptoms, to you,
22             relate more to having a stroke, if
23             your medical assistant saw those
24             signs and symptoms, would you expect
25             that you would receive a call?


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 1   A.   Yes.
 2   Q.   Okay.     Would your medical assistants
 3                recognize those symptoms as being
 4                possible symptoms of a stroke?
 5   A.   Yes.
 6   Q.   They would?        Okay.   And how do you know
 7                they would recognize those as a sign
 8                of having a stroke?
 9   A.   Because I'm called with those symptoms on
10                multiple occasions on someone having
11                an acute stroke at the jail.
12   Q.   Have they been trained to recognize those
13                signs and symptoms?
14   A.   They are trained through the medical
15                program.     Somebody with the signs and
16                symptoms of slurred speech, unable to
17                ambulate, weakness, facial droop,
18                those are medical issues that need to
19                be addressed.
20   Q.   Okay.     Have you personally trained them on
21                those issues?
22   A.   The issues of treating a stroke?
23   Q.   Signs and symptoms that would lead you to
24                believe they were having a stroke.
25   A.   No.


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 1   Q.   Other than what you presume they learned
 2               in school, had they received any
 3               training since employed by you at
 4               Trumbull County Jail in regards to
 5               those issues?
 6   A.   They are always in training being here.
 7               Training is something in the medical
 8               field that you go through forever.
 9               I'm currently still in training and
10               will be on training the rest of my
11               life.
12                       But, the training that I
13               received in medical school -- they
14               get their training through MA school
15               just to determine the appropriateness
16               of someone having a stroke, a heart
17               attack -- are signs that they are
18               trained through their University or
19               school where they are trained.
20   Q.   All right.       Do you have to take continuing
21               education courses?
22   A.   Yes.
23   Q.   As a physician in the State of Ohio to
24               maintain your license; is that
25               correct?


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 1   A.   Correct.
 2   Q.   Do medical assistants have to take
 3                continuing education courses?
 4   A.   I'm not sure.
 5   Q.   So, whereas you say you're continuing in
 6                training, the State has recognized
 7                that it's more than just on-the-job
 8                training.   Is that correct?
 9   A.   Yes.
10   Q.   They expect you to actually sit in the
11                classroom, have someone speak to you
12                that has expertise in the field on
13                which you're learning; is that
14                correct?
15   A.   Correct.
16   Q.   Okay.     Your medical assistants working at
17                the Trumbull County Jail; do they
18                have any formal training from you?
19   A.   Me personally?
20   Q.   Yes.
21   A.   No.
22   Q.   Do they have any formal training?
23   A.   They have to have so much training to
24                continue to renew their license.
25   Q.   Okay.     They don't have a medical license?


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 1   A.   Well, a medical assistant certificate.
 2   Q.   Okay.     Do you know that for certain?
 3   A.   I'm certain my nurse, Debbie, does
 4                continuous education to continue to
 5                be a certified medical assistant.
 6   Q.   So, would you be you surprised to learn
 7                that they are not required to have
 8                continuing classes to maintain their
 9                license?
10   A.   No.
11   Q.   So, is there any formal training in the
12                Trumbull County Jail of your staff?
13   A.   Yes.
14   Q.   Who does that formal training?
15   A.   Carla.
16   Q.   And you're saying Carla Ahart?
17   A.   Yes.
18   Q.   Who determines what training they receive?
19   A.   Well, after their certificate they are
20                given on-the-job training working in
21                the correctional setting and what
22                their job entails.
23   Q.   Let me be more specific, then.     When I say
24                "formal training" do they ever sit
25                down with written materials and go


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 1               through specific topics in regards to
 2               enhancing their medical knowledge?
 3   A.   Not through me.
 4   Q.   Do they do that with Carla Ahart?
 5   A.   Not that I am aware of.
 6   Q.   So, the training you believe they receive
 7               is basically on-the-job training?
 8   A.   For the Trumbull County Jail.
 9   Q.   Is that any different than at your private
10               practice?
11   A.   My private practice staff does not go
12               through any advanced training for the
13               jail; so, they don't go through the
14               extra training.
15   Q.   Training for your private office practice.
16   A.   No.    There is no training.
17   Q.   But you're there on a consistent basis; is
18               that correct -- at your private
19               practice?
20   A.   Yes.
21   Q.   And at your private practice you have the
22               ability to be on site and to
23               supervise your medical assistants; is
24               that correct?
25   A.   Mostly Debbie Cornicelli supervises when


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 1              I'm not there.
 2   Q.   But, when you are there you will note if
 3              your medical assistant is doing
 4              something wrong or doing something in
 5              a way other than you would expect
 6              them to do it.   Is that correct?
 7   A.   I'm not sure I understand.
 8   Q.   In your private practice if you note one
 9              of your medical assistants, be it
10              Cornicelli or Smith, doing something
11              that you think is incorrect or
12              inaccurate, that you are on site to
13              correct that action.   Is that
14              correct?
15   A.   Correct.   Just like here when I'm here.
16              When my staff is wrong here, I'm here
17              to determine if there is something
18              wrong.
19   Q.   How many hours a week do you work,
20              generally speaking?
21   A.   I have no idea.
22   Q.   Do you work more than 60 hours a week?
23   A.   Probably not.
24   Q.   Do you work less than 40 hours a week?
25   A.   No.


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 1   (OFF THE RECORD)
 2   Q.   So, let's use 40 hours, because you can
 3                say with some certainty that you put
 4                in 40 hours a week; correct?
 5   A.   Correct.
 6   Q.   What percentage of that time is in your
 7                private practice?
 8   A.   40 percent.
 9   Q.   Where is the other 60 percent put?
10   A.   Hospitals, and then down here.
11   Q.   Okay.     What hospitals are you affiliated
12                with?
13   A.   Trumbull and St. Joe's.
14   Q.   As a percentage, if 40 percent is at your
15                private practice, how much is at
16                Trumbull?
17   A.   I would say 30 percent at Trumbull and
18                30 percent here.
19   Q.   Okay.     When you say -- is "Trumbull,
20                St. Joe's," one facility?
21   A.   Yes.     Two facilities, but 30 percent of my
22                time.
23   Q.   Okay.     And 30 percent at the Trumbull
24                County Jail?
25   A.   Yes.


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 1   Q.   What time of day do you come in to
 2                Trumbull County Jail?
 3   A.   5:30, 6:00 in the morning.
 4   Q.   And how long are you here?
 5   A.   Until I see my list of inmates; usually
 6                two or three hours.
 7   Q.   And after you see your list of inmates,
 8                what do you do?
 9   A.   I go to Trumbull.
10   Q.   Okay.     If you come in at 5:30, 6:00 in the
11                morning and you're here for two or
12                three hours, that's the morning
13                shift.   Is that correct?
14   A.   Usually.     There's no set times when I come
15                in, because I come in randomly.    It
16                depends on if I go to the hospital
17                first.   It depends on a lot of things
18                because of when they are feeding
19                here, when their shift changes.    I
20                come at the quickest time to see
21                inmates without holding up Courts,
22                feeding, shift changes.
23   Q.   So, would I be correct in saying that
24                generally speaking you're here during
25                the a.m. shift?


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 1   A.   Sometimes it's p.m.
 2   Q.   Are you ever here on midnight shift?
 3   A.   Never -- unless there's an emergency.    If
 4             I get called in -- very rarely.
 5   Q.   Is Carla Ahart a supervisor here?
 6   A.   She's a supervisor for the medical
 7             assistants.
 8   Q.   What are her duties?
 9   A.   To supervise the medical assistants.
10   Q.   What does that entail in your thought
11             process?
12   A.   Making sure that the medications are
13             ordered for the inmates, sick call is
14             done, evaluations are done, charting
15             is done, filing, getting reports,
16             seeing inmates when they come in on a
17             booking.
18   Q.   Is training one of her responsibilities?
19   A.   Training the medical assistants; yes.
20   Q.   Have you sat down and spoken with her in
21             regards to her duties as training the
22             medical assistants?
23   A.   We go over what needs to be done, yes.
24   Q.   When you say "we go over," is that a
25             formal --


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 1   A.   101.
 2   Q.   Talking?
 3   A.   Yes.
 4   Q.   When you say, "what needs to be done,"
 5               what determines what needs to be
 6               done?
 7   A.   The things that aren't getting done.
 8   Q.   Would that include administration and
 9               recordkeeping; things like that?
10   A.   Filing.    If they are behind in filing
11               charts, filing documentation, getting
12               supplies ordered.
13   Q.   What training is given in regard to
14               patient care?
15                       MS. HOHENBERGER:   Are you
16   talking about here, for the inmates?
17                       MR. RUCKER:   Yes, for the
18   inmates.
19   A.   What do you mean by "training"?
20   Q.   What training is given, just like you
21               training and your continuing
22               education; where they go and talk to
23               you about signs and symptoms of
24               stroke, or new developments in
25               medicine, cardiology, or pulmonary --


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 1               things that would enhance your
 2               practice.     What type of training is
 3               given to the medical assistants here
 4               at Trumbull County Jail in regards to
 5               the treatment of inmates -- signs and
 6               symptoms, what you can do, what you
 7               can't do?
 8   A.   That's all done through their 80 weeks of
 9               training before they start.
10   Q.   How many weeks?
11   A.   Eighty hours.
12   Q.   Eighty hours.       And who does that?
13   A.   Carla.
14   Q.   That's equivalent of two weeks?
15   A.   Yes.
16   Q.   How would that be annotated that they
17               received that 80 hours of training?
18   A.   There's a schedule that she sets up for
19               them before they are hired.
20   Q.   Is that a written schedule?
21   A.   Yes.
22   Q.   Where is that schedule maintained?
23   A.   Probably through Carla.
24   Q.   When you say "through Carla" what does
25               that mean?


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 1   A.   It has to be documented somewhere because
 2               they have to get paid for their
 3               training.
 4   Q.   Is there something that indicates what
 5               specifically they are trained on?
 6   A.   Yes.
 7   Q.   And Carla would have that?
 8   A.   Yes.
 9   Q.   Do you know what that form is called?
10   A.   I have seen it.      I don't know the exact
11               name for it, though.
12   Q.   Could it possibly be called "training
13               checklist"?
14   A.   Could be.
15   (WHEREUPON A RECESS WAS TAKEN AT 11:24 AM AND
16   TESTIMONY RESUMED AT 11:43 AM)
17   (PLAINTIFF'S EXHIBIT 4 MARKED)
18   BY MR. RUCKER:
19   Q.   Doctor, you have been handed what's been
20               marked as Deposition Exhibit 4
21               captioned as a "training check-off
22               list."   Is this the document you were
23               referring to when you talked about
24               the 80-week (sic) training?
25   A.   Yes.


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 1   Q.   You indicate that this is for Laura Yoder?
 2   A.   Correct.
 3   Q.   Her job title at this time was medical
 4               assistant extern.   What is "extern"?
 5   A.   We take externs from area medical
 6               assistant programs for 160 to 180
 7               hours to train them towards their
 8               medical assistant degree.
 9   Q.   And it indicates here that the starting
10               date of Laura Yoder was February of
11               2017?
12   A.   Yes.
13   Q.   And just looking at this as an example of
14               the training check-off list that you
15               have previously indicated that all
16               your medical assistants go through
17               prior to them becoming employees.     Is
18               that correct?
19   A.   Yes.
20   Q.   Should Medical Assistant Hake have one of
21               these?
22   A.   Yes -- or went through it.
23   Q.   Where would that be maintained?
24   A.   I don't know if she keeps them after she
25               goes through them or not.   I think


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 1             when she goes through them and if she
 2             signs off, and Carla sees they have
 3             done it all, she may keep them in her
 4             file or discard them.     I don't know.
 5   Q.   As a physician, recordkeeping is
 6             everything; isn't it?
 7                  MS. HOHENBERGER:     Objection.
 8   A.   In patient care it is.
 9   Q.   So, in regards to patient care you would
10             expect that records would be
11             maintained.   Is that correct?
12   A.   Patient records, yes.
13   Q.   In regards to patient care.     Training
14             directly reflects on the care that a
15             patient receives.     Would that be an
16             accurate statement?
17                  MS. HOHENBERGER:     Objection.
18   Training as to who?
19   Q.   Training of medical assistants has a
20             direct relationship with the care
21             that patients receive.     Would that be
22             an accurate statement?
23   A.   To some degree.
24   Q.   What degree would it not be an accurate
25             statement?


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 1   A.   I'm looking at the question as that they
 2                go through the training and they are
 3                checked off the checklist of training
 4                that's required; and, after that they
 5                are able to obtain employment.     So,
 6                when they fill out the checklist
 7                there's some things on the checklist
 8                that they might not encounter in
 9                patient relationships.
10   Q.   Okay.     Well, let's do this.   Let's say
11                that you had a partnership with
12                another doctor.
13   A.   Uh huh.
14   Q.   Do you have a partnership with another
15                doctor?
16   A.   No.
17   Q.   Let's assume that you did have a
18                partnership with another doctor; and,
19                this doctor came into your practice
20                subsequent to your practice being
21                established.
22                     Now, records of what you have
23                trained your medical assistants to --
24                if they are thrown away, that
25                subsequent physician does not have


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 1                records to look at to see the level
 2                of the training that that medical
 3                assistant received.     Would that be an
 4                accurate statement?
 5   A.   I'm not sure that if I brought in a
 6                physician he would have any useful
 7                information looking at a training
 8                evaluation of an employee who was
 9                already established in practice.
10   Q.   Okay.     Do you believe training to be
11                important?
12   A.   Yes.
13   Q.   And why do you believe it to be important?
14   A.   Because I think in the medical profession
15                it's something that you continue to
16                learn on, and you continue to be
17                trained, and you continue to find
18                different entities in the treatment
19                plan of patients.
20   Q.   And in your own training, and in your own
21                continuing education, the State
22                Medical Board maintains those
23                records.     Is that correct?
24   A.   My continuous education?        No.
25   Q.   Who maintains your records of training?


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 1   A.   Debbie Cornicelli.
 2   Q.   You don't have to submit them to the State
 3              Medical Board?
 4   A.   No.
 5   Q.   When you take a continuing education
 6              course, who records that?
 7   A.   We turn it in to our board certification.
 8   Q.   And where is your board certification?
 9   A.   American College of Family Practice.     They
10              obtain the board certification.    The
11              State, you just have to sign off that
12              you have the training and the State
13              does so many audits per hundred and
14              then they require you to send in
15              those CMEs.
16   Q.   Who would actually send in those CMEs?
17   A.   Debbie would.
18   Q.   So, Debbie maintains the records of your
19              training?
20   A.   Correct.
21   Q.   Why would the State want you to maintain
22              those records?
23   A.   Well, you're required to by the State.
24   Q.   Why is that important to the State?
25   A.   Like we said before, continuous training,


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 1               learning, continuous learning
 2               experience.
 3   Q.   But, the State does require that you
 4               maintain those records?
 5   A.   Yes.
 6   Q.   And it's important to the State; right?
 7   A.   Yes.
 8   Q.   And it's very important to you because
 9               it's important to the State; right?
10   A.   Yes.
11   Q.   You don't think it's important to maintain
12               training records for the medical
13               assistants for the same reason?
14   A.   The State of Ohio has none of my training
15               records at all.
16   Q.   Personally -- you.       Do you think it's
17               important to maintain those records
18               of training?
19   A.   My training records for my residency,
20               internship, externship, are nowhere
21               at the State.     The hospital destroys
22               them when you're done.
23   Q.   Do you, as a physician employing medical
24               assistants to render care to patients
25               in or out of the jail -- do you think


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 1                it's important that training records
 2                be maintained on your employees?
 3   A.   They are not allowed to be hired unless
 4                this checklist is completely done.
 5                If this checklist is done, then we
 6                know they went through the training.
 7                It's not vital that they're kept
 8                personally for me; because, I know
 9                that their 80 weeks (sic) of training
10                goes over this whole sheet.     And in
11                order to be employed you need that
12                extra 80 hours of training, or that
13                extra 160 plus 80.     But this is just
14                the checklist that we know that they
15                went through ABC -- A through Z.
16                And, once it's done then we know they
17                have had the training.
18   Q.   Okay.     Let's go over the training
19                check-off -- your Exhibit 4.     It
20                says, "Orientation to jail and
21                medical department."     What would that
22                consist of?
23   A.   Where is that?
24   Q.   The first activity under the "Activity
25                orientation."


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 1   A.   Basically, take them through, you know,
 2                the jail, the booking department,
 3                medical department, showing them
 4                where everything is at.
 5   Q.   Next one is "Clocking in, time sheets"?
 6   A.   Correct.
 7   Q.   "Review of medical manual."        What is the
 8                medical manual?
 9   A.   That's the manuals and the policies and
10                procedures left in medical of the
11                things that they need to read over.
12   Q.   Okay.     The next one is "Doors and cabinets
13                locked"?
14   A.   Yes.
15   Q.   "Shift reports"?
16   A.   Yes.
17   Q.   "Phone extensions"?
18   A.   Yes.
19   Q.   "Vaccine"?
20   A.   Yes.
21   Q.   "Filing"?
22   A.   Yes.
23   Q.   "Charts"?        Is that how to complete a
24                chart?
25   A.   I can't read what it says.        It is


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 1                basically showing them how to make a
 2                chart, pull a chart -- how to make up
 3                a chart.
 4   Q.   "C-58, lists and" -- what is that?
 5   A.   Probably "faxed to Venetti."
 6   Q.   What is that?
 7   A.   That's our suicidal watch list.
 8   Q.   Coleman?
 9   A.   That's Rick Basset.
10   Q.   Dennis --
11   A.   List.
12   Q.   Okay.     All those are just people who they
13                should call if something happens in
14                those areas?
15   A.   Correct.
16   Q.   "Dr. Malvasi, list, and" -- what's that?
17   A.   Looks like, "Seeing inmates on sick call."
18   Q.   "Transportation list"?
19   A.   That was being sent out.
20   Q.   "Diet list and medical diets"?
21   A.   Hypertensive, diabetics, allergy diets.
22   Q.   This one says "medical lockdown list"?
23   A.   Yes.
24   Q.   I note in that one there is no initial.
25   A.   Yes.


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 1   Q.   What would indicate to me if there is no
 2              initial?
 3                      MS. HOHENBERGER:     Objection.
 4   Q.   Would I be correct in assuming that they
 5              did not receive training in that
 6              area?
 7   A.   No.
 8   Q.   Why wouldn't I?
 9   A.   I don't know if it's just not documented
10              or -- you would have to find out
11              through Carla through the evaluation
12              form if that was done or not.
13                      This is an extern.     This is not
14              an employee.     She's going through her
15              externship.
16   Q.   Does she work for you now?
17   A.   No.
18   Q.   So, is there a difference between an
19              extern going through the training and
20              your employee going through the
21              training?
22   A.   An extern is given more time because they
23              are trained through the school; and,
24              this has to be faxed to the school to
25              make sure they have completed the


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 1              majority of it.
 2   Q.   If there is no training check-off list
 3              included in any of your employees'
 4              personnel files, how would you
 5              explain that?
 6                    MS. HOHENBERGER:     Objection.
 7   You're assuming that it's not?
 8                    MS. RUBRIGHT:     Yes, it's a
 9   hypothetical.
10                    MR. RUCKER:     I haven't seen it.
11   I've requested it and it hasn't been provided
12   to me.
13                    MS. HOHENBERGER:     Objection,
14   again.   Are you talking about files that you've
15   received on three or four medical assistants,
16   his employees generally?       I'm not sure what
17   you're asking.
18   BY MR. RUCKER:
19   Q.   In regards to your employees who work at
20              the Trumbull County Jail, if there
21              are no training check-off lists
22              contained in their personnel files
23              that have been provided to me
24              pursuant to a discovery request
25              issued to your attorney, how would


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 1               you explain that?
 2   A.   I don't know.      I don't know if she keeps
 3               them somewhere else.    I don't know
 4               where they are kept after they check
 5               them out.
 6   Q.   Are you even sure that these forms are
 7               utilized for the training of
 8               permanent employees?
 9   A.   Yes.
10   Q.   Do you use these forms in your private
11               practice?
12   A.   No.
13   Q.   Do you use any form in your private
14               practice?
15   A.   No.
16   Q.   I think you have indicated Miss Cornicelli
17               does all the training in your private
18               practice.
19   A.   No.
20   Q.   Who does the training in your private
21               practice?
22   A.   There's no training.
23   Q.   If we continue down it says, "Test list
24               binder."    What is that?
25   A.   The list of the drug screening pregnancy


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 1               test, blood draws and labs that need
 2               to be done.
 3   Q.   Under "lab" you have your typical lab
 4               tests, drug screens, pregnancy tests,
 5               blood tests?
 6   A.   Uh huh.
 7   Q.   Can medical assistants do blood draws?
 8   A.   Yes.
 9   Q.   And you have "diabetics, medical
10               emergencies, and ER bag."   What's the
11               training associated with medical
12               emergencies and ER bags?
13   A.   Just to supply us what's in the bag.
14   Q.   That's for an ER bag; but, what would that
15               training consist of?   Are you
16               indicating that the ER bag is --
17   A.   The ER bag is a bag that they bring up for
18               a medical emergency.   Somebody
19               twisted his ankle, somebody fell,
20               somebody jumped.
21   Q.   So, would I be accurate in stating that
22               that line, "medical emergencies and
23               ER bag" is basically telling them to
24               take their bag to emergencies?
25   A.   Yes.


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 1   Q.   It says, "Signing off" -- what's that --
 2               "centralized "--
 3   A.   -- "controls and temp log."
 4   Q.   What would that consist of?
 5   A.   The refrigerator has to be a certain
 6               temperature for insulin.   The
 7               glucosometer needs to be calibrated;
 8               and, if there's any controlled
 9               substances they need to sign off that
10               they counted them.
11   Q.   It's hard for me to read the next line.
12   A.   "Supplies and sharps."
13   Q.   The one after that?
14   A.   "Putting stock away."
15   Q.   And the next one?
16   A.   "Stocking med card."
17   Q.   What's the next -- "Controlled
18               substances"?
19   A.   Yes.
20   Q.   What would that consist of?
21   A.   Counting the narcotics.
22   Q.   Inventory type?
23   A.   Uh huh.
24                    MS. HOHENBERGER:   Say "yes."
25   A.   Yes.


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 1   Q.   "Medical request forms."        What does that
 2                consist of?
 3   A.   Making a medical request for Tylenol; if
 4                they need to see the dentist, you
 5                need to get his medication from the
 6                pharmacy.
 7   Q.   Would that relate to sick calls?
 8   A.   No.     That's the medical request form.      The
 9                inmates fill that out.
10   Q.   Okay.     So, this would be what the inmate
11                or the LPN would fill out to order
12                those things?
13   A.   No.     The inmates are given that form to
14                fill out -- "Joe Smith.     I need
15                ibuprofen," or, "I need to see the
16                dentist," or, "I need something from
17                the pharmacy."
18   Q.   "Verification of medications"?
19   A.   Yes.
20   Q.   "Review of alcohol.      Opiate protocols"?
21   A.   Okay.
22   Q.   Is that review of alcohol, barbiturates
23                and opiate protocols?
24   A.   Yes.
25   Q.   I think we had talked about this earlier.


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 1               What is your opiate protocol?
 2   A.     Mine is, for medication, giving Catapres,
 3               Thiamine, for the treatment of
 4               symptoms.
 5   Q.     It says, "What to do if someone" -- what's
 6               that say?
 7   A.     Your guess is as good as mine.
 8   Q.     Let's see if we can find a clear one.
 9                      MS. HOHENBERGER:        It looks like
10   "pregnant," to me.
11                      MS. RUBRIGHT:     It does to me,
12   too.
13   Q.     "What to do if someone is pregnant"?
14   A.     Right.
15   Q.     Is that "Constipation," the next one?
16                      MS. RUBRIGHT:     No.     "Computer
17   password, email, pharmacy look-up."
18   (OFF THE RECORD)
19   Q.     Next is "How to make an appointment"?
20   A.     I agree.
21   Q.     "Medication"?
22   A.     "Pass."    Yeah, "Med pass.     Pharmacy, order
23               medications and how, scan in
24               medications that came in from the
25               pharmacy, sign and date invoices to


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 1                go to Carla for payment, pre-book in
 2                assessment form, evaluations,
 3                packaging medications, date each,
 4                order forms, and progress notes."
 5   Q.   Next is, "Approval of" --
 6   A.   -- "medications.        Personal medication
 7                sheet."     That's the ones they bring
 8                in.
 9                        "Court ordered drug screen,
10                EKGs, and aerosol breathing
11                treatments."
12   Q.   Okay.     Are these the topics in which you
13                would expect your medical assistants
14                to be trained?
15   A.   Yes.
16   Q.   Do you have any other training other than
17                training topics or training areas
18                that you insist upon or that are
19                required for your medical assistants
20                other than what's on this check-off
21                list?
22   A.   No; but, when I'm down here seeing inmates
23                they are continuously training when
24                I'm evaluating somebody because they
25                are in the room with me.     At that


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 1               time I'm teaching and training at the
 2               same time.
 3   Q.   Are the shifts of the medical assistants,
 4               are they rotating shifts or are
 5               they -- if you are on midnights
 6               you're on midnights?
 7   A.   They rotate; or, personal preferences.       If
 8               someone wants to work midnights this
 9               week or days this week because of
10               babysitting, or whatever else, they
11               put the request in a week before -- a
12               month before.
13   Q.   You're aware that they were interviewed by
14               Lieutenant Shay in regards to the
15               investigation of Mr. Gregory Wright?
16   A.   Yes.
17   Q.   So, is that only temporary, or are they on
18               midnights for long periods of time?
19   A.   It's personal preference for scheduling.
20   Q.   Would you be aware, if you are -- for
21               example, Medical Assistant Hake, how
22               long was she on midnights?
23   A.   I'm not sure.
24   Q.   Are you familiar with Medical Assistant
25               Lockdale's shift?


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 1   A.   She was mostly swing shift.     Hake has a
 2             child so she had to work midnights
 3             because she had babysitting
 4             conflicts.     So, midnights worked out
 5             for her because her mother was able
 6             to babysit.
 7                  Bethany was able to work all
 8             three shifts because of no scheduling
 9             of children.
10   Q.   Now, you indicated earlier you're never
11             there on midnights unless it's an
12             emergency.     Is that correct?
13                  MS. HOHENBERGER:     Objection.    I
14   don't know if that's what he said.
15   A.   Not usually.   I cannot see inmates on
16             midnight shift, first of all.      Let's
17             make that clear.     I'm not allowed to
18             violate their sleep pattern.      There's
19             a law for that.     And, I can't be here
20             too early because they have to eat
21             breakfast before they are seen.
22   Q.   So, if Medical Assistant Hake worked
23             midnights, you would seldomly see
24             her; is that correct?
25   A.   I would see her on a regular basis.


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 1   Q.   Where would you see her on a regular
 2               basis?
 3   A.   Coming in the door.
 4   Q.   At midnight?
 5   A.   Uh huh.
 6                      MS. HOHENBERGER:   Please say
 7   "yes" or "no."
 8   A.   Yes.    Because her shift is from 10P to 6A.
 9               So, I'm coming in at 6:00, and I'm
10               seeing her when there's two of them
11               there, and at shift change.
12   Q.   But, during the time that she might be
13               dealing with emergencies on midnight
14               shift, you're not there to deal with
15               her?
16   A.   No.
17   Q.   So, you're not there to supervise her or
18               shadow her in her routine on midnight
19               shift; is that correct?
20   A.   That goes along with every shift, not just
21               midnight shift.
22   Q.   So, you never shadow your employees; or,
23               are your employees allowed to shadow
24               you?
25   A.   No, they do.


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 1   Q.   When was the last time Medical Assistant
 2               Hake had the opportunity to shadow
 3               you when you were in the jail?
 4   A.   Probably to do "Doctor Sick Call" list.
 5   Q.   But "Doctor Sick Call" list would not be
 6               at midnight; is that correct?
 7   A.   It would be at 6:00 a.m.
 8   Q.   And at 6:00 a.m. she would be getting
 9               ready to leave; is that correct?
10   A.   A lot of times the midnight person would
11               stay and help out sick call while the
12               other one is getting meds ready for
13               med pass.
14   Q.   Would she be paid for that?
15   A.   Yes.
16   Q.   And would that be reflected in her
17               payroll, those times that she stayed?
18   A.   Yes.    Like I said, if I come in at 5:30,
19               she's there forced to see inmates.
20               Not on a regular basis; but, it
21               happens where they shadow me with
22               sick call in the clinic.
23   Q.   When was the last time that Medical
24               Assistant Hake stayed to do sick call
25               with you?


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 1   A.   I can't give an exact date.
 2   Q.   Okay.     But it would be reflected in her
 3                payroll records?
 4   A.   Yes.
 5   Q.   When was the last time that Medical
 6                Assistant Lockdale did?
 7   A.   A lot more frequently, because she worked
 8                usually mornings or afternoon shift.
 9   Q.   Carla Ahart is an LPN; is that correct?
10   A.   Yes.
11   Q.   What's the difference between an LPN and a
12                medical assistant?
13   A.   She has a little bit more training in
14                nursing.
15   Q.   Okay.     She worked for you previously; is
16                that correct?
17   A.   Yes.
18   Q.   And she terminated her time of service at
19                one point?
20   A.   Yes.
21   Q.   And why did she terminate her time of
22                service with you?
23   A.   I think to be home with her Dad and her
24                kid.
25   Q.   Okay.     And subsequently, I believe in


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 1               2016, she came back?
 2   A.   She left for a small period of time, and I
 3               don't know exact dates.
 4   Q.   But they would be reflected in her
 5               personnel records?
 6   A.   Yes.
 7   Q.   And there's no reason why you would
 8               believe her personnel records would
 9               be incomplete or inaccurate; is
10               there?
11   A.   No.
12   Q.   At some point then was she re-employed by
13               you; is that correct?
14   A.   Yes.
15   Q.   And what position was she re-employed in?
16   A.   The same.
17   Q.   As a staff member at the Trumbull County
18               Jail?
19   A.   Yes.
20   Q.   And anyone that's employed at the Trumbull
21               County Jail, they are employed solely
22               for the Trumbull County Jail; is that
23               correct?
24   A.   Yes.
25   Q.   And was she employed as a supervisor?


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 1   A.   She was always -- she always oversaw the
 2               medical department for her whole time
 3               here, from the date she started.
 4   Q.   Was she also employed with the
 5               responsibility for training?
 6   A.   Yes.
 7   Q.   What's the difference in pay between an
 8               LPN and a medical assistant?
 9   A.   I'm not sure.
10   Q.   How much do you pay your LPNs?
11                    MS. HOHENBERGER:     Are you
12   talking about now, just so we're clear?
13                    MR. RUCKER:   Yes.
14   A.   I'm not sure if I have those numbers.
15               Debbie would have those numbers.
16   Q.   There is a difference in pay, though; is
17               that correct?
18   A.   Yes.
19   Q.   Do medical assistants require supervision
20               under the law?
21                    MS. HOHENBERGER:     Objection.
22   A.   No.
23   Q.   Are you familiar with the contract that
24               you signed with Trumbull County in
25               regards to your medical services?


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 1   A.   Yes.
 2   Q.   Do you recall putting in for a
 3               modification to cover midnight shift?
 4   A.   They put that modification in.
 5   Q.   They put it in for you to give 24-7
 6               coverage to the jail; is that
 7               correct?
 8   A.   Correct.
 9   Q.   Do you remember that part of that
10               modification indicated that the
11               modification was for the purpose of
12               hiring a medical assistant for
13               midnight shift?
14   A.   Yes.
15   Q.   And that, in parenthetical, it indicated
16               "to be supervised by an LPN."     Do you
17               recall that?
18                    MS. HOHENBERGER:     Objection.
19   A.   There was always a supervised LPN on
20               board.     It was just at the time that
21               Carla left they wanted to maintain
22               continuous LPN support.
23   Q.   And did you maintain continuous LPN
24               support from the time that that
25               modification was approved by the


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 1              County Commissioners?
 2   A.   I believe so.
 3   Q.   Would you have records that would indicate
 4              that?
 5   A.   Whatever I have in my payroll records.
 6   Q.   What LPN did you hire in 2011?
 7   A.   Carla.
 8   Q.   When Carla left, what LPN succeeded her?
 9   A.   There was a period when we had an LPN that
10              didn't like the correctional setting.
11              I remember there was a time where it
12              was difficult to find an LPN to come
13              to the correctional setting; but,
14              there was someone who took her place
15              for a short period of time.
16   Q.   But there was a time when there was no LPN
17              at the Trumbull County Jail?
18   A.   Correct.
19   Q.   And do you recall that time?
20   A.   No.   But, I made the Sheriff at the time
21              know that we were in the process of
22              finding an LPN.
23   Q.   So, your employment records would indicate
24              that time period; is that correct?
25   A.   Correct.      I remember having a discussion


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 1               with the jail administrator, the
 2               Sheriff at the time after Carla left
 3               to be with her father and daughter,
 4               that we were in the process of
 5               interviewing; and, we were having
 6               trouble finding anyone who wanted to
 7               work in a correctional setting.
 8   Q.   Did that absence of an LPN exceed one
 9               year?
10   A.   I'm not sure.
11   Q.   Again, you spoke to Sheriff Altier at that
12               time?
13   A.   Yes.
14   Q.   And he said that was okay?
15   A.   Yes.    And Chief Donnie Guarrino.
16   Q.   When you rehired Carla Ahart she came back
17               part-time; is that correct?
18                       MS. HOHENBERGER:   Objection.
19   A.   I'm not sure.
20   Q.   So, during the period of May of 2017,
21               you're not aware whether she was
22               part-time or full-time?
23   A.   No.
24   Q.   As of this date are you aware if she's
25               part-time or full-time?


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 1   A.   She sets the hours because she does the
 2                scheduling; but, she's on-call, like
 3                myself, 24/7.     She's always
 4                available.     I'm always available.
 5                        I don't know how many shifts
 6                she's here.     I know she worked all
 7                three shifts.     But, it would be up to
 8                her how many shifts she wanted.        She
 9                had the benefit of saying, "I want to
10                work these four days; midnights,
11                days, afternoons."      She was in charge
12                of the schedule.
13   Q.   So, what Carla wants Carla gets?
14                        MS. RUBRIGHT:   Objection.
15   A.   Pretty much.
16   Q.   Okay.     Are you familiar with minimum
17                standards for jails in the State of
18                Ohio?
19   A.   Yes.
20   Q.   And how are you familiar with that?
21   A.   I have read through them.
22   (PLAINTIFF'S EXHIBIT 5 MARKED)
23   Q.   Okay.     I'm going to give you, for your own
24                reading pleasure what's marked as
25                Exhibit 5.


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 1   A.   Okay.
 2   Q.   You have had the pleasure of reading this
 3                document?
 4   A.   Yes.
 5   Q.   Would I be accurate in stating that this,
 6                what has been marked as Exhibit 5,
 7                "Department of Rehabilitation and
 8                Corrections, Standards for Jails in
 9                Ohio, Full Service and Minimum
10                Security Jails," is the document by
11                which the operation of the Trumbull
12                County Jail is operated?   Is that
13                correct?
14   A.   Yes.
15   Q.   And that there are standards contained
16                herein with which Trumbull County
17                Jail is called to comply; is that
18                correct?
19   A.   Yes.
20   Q.   And contained within this document of
21                several pages there's a section that
22                deals with medical department; is
23                that correct?
24   A.   Yes.
25   Q.   And are you familiar with that section?


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 1   A.   Yes.
 2   Q.   Are you considered the health authority at
 3                Trumbull County Jail?
 4   A.   I believe so.
 5   Q.   Okay.     Have you ever met with the State
 6                auditors in regards to audits?
 7   A.   No.
 8   Q.   You have never met with them?
 9   A.   Never.
10   Q.   You're aware that they come in every year
11                and do an audit of the operation of
12                the jail?
13                     MS. RUBRIGHT:     Are you talking
14   about audits or inspections?
15                     MR. RUCKER:     I believe they are
16   interchangeable.
17                     MS. RUBRIGHT:     Okay.   I know
18   them as jail inspections.       Okay.
19   Q.   Are you familiar with inspections or
20                audits of the State of Ohio of the
21                Trumbull County Jail?
22   A.   Yes.
23   Q.   And the purpose of those inspections or
24                audit is to ensure the jail's
25                compliance with those standards as


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 1                set forth --
 2   A.   Yes.     Minimum standards of Jails.
 3   Q.   You have never personally participated in
 4                the audit?
 5   A.   No.
 6   Q.   You personally never had a conversation
 7                with any of the State Representatives
 8                or auditors that performed the
 9                inspection?
10   A.   No.
11   Q.   Have you ever personally participated in
12                the reviews after the audits have
13                taken place?
14   A.   One or two times.
15   Q.   Okay.     And did that include a State
16                Representative?
17   A.   No.
18   Q.   Who was involved in those reviews?
19   A.   I think it was Eric Shay.
20   Q.   Is he the only one?
21   A.   Yes.
22   Q.   Do you recall when that took place?
23   A.   No.
24   Q.   Was it the 2017 audit, if you can recall?
25   A.   No.     It was before.


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 1   Q.   2016?
 2   A.   I'm not sure.
 3   Q.   If I can get you to turn to page 27 in
 4                that document -- well, first, look at
 5                the document and make sure it's
 6                complete.
 7                     MS. HOHENBERGER:    Objection.
 8                     MR. RUCKER:    Are you objecting
 9   to it being complete?
10                     MS. HOHENBERGER:    If he knows.
11   Q.   Are you familiar with this section?
12   A.   Yes.
13   Q.   Have you reviewed it before?
14   A.   Yes.
15   Q.   And you understand the system where they
16                have essential and important
17                classifications on each standard
18                that's set forth?
19   A.   Yes.
20   Q.   And do you understand the difference
21                between standards that are essential
22                and standards that might be less than
23                essential?
24   A.   Yes.
25   Q.   How did you get that understanding?


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 1   A.   Just the terminology of it.
 2   (PLAINTIFF'S EXHIBIT 6 MARKED)
 3   Q.   Contemporaneous to your review of that,
 4                I'll give you what is marked as
 5                Exhibit 6.   If you would, take a
 6                moment to look at that.
 7   A.   Okay.
 8   Q.   Okay.     If you can go to page 6, if you
 9                would go to the paragraph that deals
10                with 5120, it should be the third
11                page in -- 2299, Section
12                5120:1-8-09B.
13   A.   Yes.
14   Q.   You will see where that's listed as an
15                essential standard?
16   A.   Yes.
17   Q.   And that deals with inmate pre-screen?
18   A.   Yes.
19   Q.   And it covers, "Before acceptance into
20                jail, help train personnel, shall
21                inquire about but not be limited to
22                the following conditions; and, the
23                health authority shall develop
24                policies for the acceptance of denial
25                of admission for suicide, current


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 1               serious or potentially serious
 2               medical or mental health issues
 3               needing immediate attention, the use
 4               of taser, pepper spray and the use of
 5               drugs."
 6                    And you see the comments after
 7               the inspection, "The jail's current
 8               policy and procedures need updated to
 9               reflect the standard and component
10               specified additionally supporting
11               documentation, support the standard
12               was not made available to evidence
13               compliance.   You are the health
14               authority; is that correct?
15   A.   Yes.
16   Q.   Did you provide the supporting
17               documentation for this standard?
18                    MS. HOHENBERGER:   Objection.    I
19   believe he testified he was never involved.
20   A.   I have never seen this before today.
21   Q.   Did anyone in the jail ever come to you
22               and ask you to provide policies and
23               procedures to be provided to the
24               State in compliance to the audit?
25   A.   This would have to come from the job


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 1                administrator; that he has policies
 2                and procedures in place for inmates
 3                to be pre-screened for suicidal
 4                thought, plan, serious and potential
 5                medical and mental health issues that
 6                need immediate attention; taser,
 7                pepper spray, or other lethal use of
 8                force during an arrest.
 9   Q.   So, you're saying that you would not have
10                had any responsibility in regards to
11                that standard?
12   A.   I don't write policies and procedures for
13                the jail.
14   Q.   Okay.     Do you write policies and
15                procedures for the medical department
16                operating in the jail?
17   A.   Just medical issues; not for intake of
18                inmates.
19   Q.   Okay.     If you go up one, and it's
20                5120:1-8-09A is also listed as
21                essential health authority.
22                     "The jail has designated health
23                authority with responsibility for
24                health and/or mental healthcare
25                services pursuant to a written


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 1                agreement, contract, or job
 2                description."     Is that you?
 3   A.   Yes.
 4   Q.   "The health authority may be a physician,
 5                health administrator or agency.        When
 6                the health authority is other than a
 7                local physician, final clinical
 8                judgment rests with a single
 9                designated responsible and local
10                physician."
11                      "The health authority is
12                responsible and authorized to" -- if
13                you will go to page 27 in Exhibit 5,
14                which is your actual minimum
15                standards --
16   A.   Okay.
17                      MS. HOHENBERGER:    Was there a
18   question?     I'm going to object.     It doesn't
19   indicate that, but go ahead.
20   Q.   You will see under 5120:1-8-09, "Medical
21                Mental Health 1, Essential Health
22                Authority."     Do you see that on page
23                27?
24   A.   Yes.
25   Q.   Where we left off reading out of 6, it


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 1                says, "The health authority is
 2                responsible and authorized to provide
 3                written policies and procedures
 4                specifically designed for the jail
 5                and for all aspects of this standard
 6                that shall be reviewed on an annual
 7                basis."   Do you believe that to be
 8                your responsibility?
 9   A.   No.
10   Q.   It says under little "a," it says,
11                "Written policies and procedures
12                shall be easily accessible to staff
13                and simple to understand."
14   A.   Once again, that's the authority of the
15                jail administrator.
16   Q.   Okay.     If we come down to 4 on page 27 of
17                Exhibit 5, "Ensure decisions and
18                actions regarding healthcare and
19                mental healthcare meet inmates'
20                serious medical and mental health
21                needs are the sole responsibility of
22                qualified healthcare and mental
23                health professionals."   Would you
24                agree with that?
25   A.   That that's there?


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 1   Q.   Would you agree with the intent with that;
 2             that it is your sole responsibility?
 3                  MS. HOHENBERGER:     Objection.
 4   Can you repeat the question?
 5   Q.   Let's read 4 again.     "Ensure decisions and
 6             actions regarding healthcare and
 7             mental healthcare meet inmates'
 8             serious medical and mental health
 9             needs are the sole responsibility of
10             qualified healthcare and mental
11             health professionals."
12                  Would you agree with that --
13             that you have sole responsibility not
14             necessarily for mental health needs
15             but for serious medical health needs
16             of the inmates?
17                  MS. HOHENBERGER:     Objection.
18   A.   I'm not sure that I understand the whole
19             concept here.     These are jail
20             administrators.     This goes to the
21             jail administrator, not to the
22             medical staff, that these are things
23             are being done.     These pertain to me;
24             but, I'm not the one to make sure
25             that they are enforced.


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 1                     They're the ones that say that
 2                regarding mental health, healthcare,
 3                serious medical health needs, are the
 4                sole responsibility of the qualified
 5                healthcare and mental health
 6                professional.     They have staff that's
 7                doing this.     Policies and procedures
 8                are not obtained by me.     I don't
 9                write them.     It's up to the jail to
10                have the policies and procedures for
11                the whole correctional setting.        I
12                have nothing to do with writing
13                policies and procedures.
14                     That's why this was addressed
15                directly to the Sheriff.     That was
16                not CC'd to me.     It's strictly an
17                interdepartmental administrative
18                concept.
19   Q.   If we can, go to page 33 of Exhibit 5.
20   A.   Okay.
21   Q.   The capital "W" at the bottom of the page;
22                do you see that?
23   A.   Yes.
24   Q.   It says, "intoxication and
25                Detoxification," and it reads, "The


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 1               health authority shall develop
 2               specific policies and protocols in
 3               accordance with local, State, and
 4               Federal laws for the treatment and
 5               observance of inmates manifesting
 6               symptoms of intoxication or
 7               detoxification from alcohol, opiates,
 8               hypnotics, or other drugs.     Specific
 9               criteria are established for
10               immediately transferring inmates
11               experiencing severe life threatening
12               intoxication, overdose, or
13               detoxification symptoms to a hospital
14               or detoxification center."     Is that
15               your responsibility?
16   A.   Yes.
17   Q.   Have you developed specific policies and
18               protocols in accordance with local,
19               State, and Federal laws for the
20               treatment and observation of inmates
21               manifesting those symptoms?
22   A.   Yes.
23   Q.   Where are those policies and procedures
24               located?
25   A.   In medical.


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 1   Q.   Under what caption?
 2   A.   "Opiate Withdrawal and Alcohol Withdrawal"
 3               protocals.
 4   Q.   Is that like the COWS?
 5   A.   Yes.
 6   (PLAINTIFF'S EXHIBIT 7 MARKED)
 7   Q.   I have handed you what's been marked as
 8               Exhibit 7; "Clinical Opiate
 9               Withdrawal Skill," otherwise called
10               COWS.   Are you familiar with that
11               document?
12   A.   Yes.
13   Q.   Is it your testimony that this document
14               meets the requirement that is listed
15               in 5120:1-8-09W?
16   A.   For intoxication and detoxification? Yes.
17   Q.   And that it complies with it fully in
18               regards to:   Specific criteria are
19               established for immediately
20               transferring inmates experiencing
21               severe life-threatening intoxication
22               or detoxification symptoms to a
23               hospital or detoxification center.
24               Are you saying that what's been
25               marked as Exhibit 7 complies with


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 1               that?
 2   A.   Yes.
 3   Q.   Would you show me on Exhibit 7 where it
 4               lists specific criteria in regards to
 5               transferring inmates with severe
 6               life-threatening intoxication or
 7               detoxification symptoms?
 8   A.   A score of more than 36.
 9   Q.   Where, other than a score of 36, on this
10               document, Exhibit 7, where does it
11               say that if you score over 36 you
12               should be sent to the hospital?
13   A.   It doesn't say that.
14   Q.   So, then it does not have specific
15               criteria established on this document
16               that would immediately indicate to
17               anyone using this document that the
18               inmate should be sent to the
19               hospital.     Is that correct?
20                       MS. HOHENBERGER:   Objection.
21   A.   Could you repeat that again?
22   Q.   There's nothing on this document,
23               Deposition Exhibit 7, which would
24               indicate to anyone that is using this
25               document that a score of 36, or any


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 1             other score, should alert them to
 2             immediately transfer inmates
 3             experiencing severe, life-threatening
 4             intoxication or detoxification to a
 5             hospital or detox center?
 6                  MS. HOHENBERGER:   Objection.
 7   Q.   Is there anything on this document,
 8             Exhibit 7, that states that?
 9   A.   Not to send anybody to the hospital, no.
10   Q.   Are there any other documents that would
11             deal with that they should be sent to
12             a hospital?
13   A.   It's all based on an individual score and
14             how long they had been here with
15             their scores depending on if they
16             need hospitalization.   This is kind
17             of our screen of when they need to go
18             from our over-the-counter medication
19             to our treatment plan; and it all
20             depends on their scores.
21   Q.   So, depending on if they have a score of 5
22             to 12, based on --
23   A.   Not usually an issue.
24   Q.   And as the score increases it becomes more
25             of an issue?


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 1   A.   Correct.
 2   Q.   So, if you were assessing or if a medical
 3                assistant who believes that an inmate
 4                was going through withdrawal, in this
 5                case an opiate withdrawal, was to use
 6                this form and that's something above
 7                36, it should cause them some
 8                concern.    Is that correct?
 9   A.   They call after a score is over 15 to 20.
10   Q.   So, when they use this form, anything from
11                15 to 20 they should call you?
12   A.   They do call me.
13   Q.   Is that written somewhere that they should
14                call you?
15   A.   They are trained in it.
16   Q.   They're trained in that; but, there's
17                nothing in writing that would
18                indicate that?
19   A.   Not that I am aware of.
20   Q.   Okay.     After using this form they can look
21                at this number and know to call
22                Dr. Malvasi; that there's some
23                concern?
24   A.   Yes.     That's part of their training on
25                COWS.


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 1   Q.   That's part of their training.        Have you
 2                reviewed the records on Gregory
 3                Wright?
 4   A.   No.
 5   Q.   Why would there not be a COWS filled out
 6                for him?
 7   A.   Because he refused medical treatment.
 8   Q.   What medical treatment did he refuse?
 9   A.   Vital signs from the medical assistant.
10   Q.   Okay.     Now, she was able to get his pulse
11                at one point; right?
12   A.   Not manually.
13   Q.   She got his heart rate -- blood pressure
14                rather?
15   A.   No.
16   Q.   She never did?
17   A.   Never did.
18   Q.   Are you aware that both times that she
19                reported to attend to Mr. Wright she
20                failed to bring her ER bag?
21   A.   No.
22   Q.   You weren't aware of that?
23   A.   What I understand is -- I believe one time
24                they brought it up to her, and the
25                second time she brought it with her.


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 1               She should have brought it with her.
 2   Q.   What's a pulse ox?
 3   A.   It tells you the oxygenation of someone's
 4               blood.
 5   Q.   Are you aware that she did not bring the
 6               pulse ox with her?
 7   A.   What time are we talking?
 8   Q.   As far as I can remember, to the best of
 9               my recollection neither time.     She
10               had to send a corrections officer to
11               bring it up.
12   A.   She was supposed to bring it with her;
13               but, she has a documented pulse ox of
14               96 percent.
15   Q.   And that's after he brought it up.       But,
16               she should have brought it with her?
17   A.   Yes.    She should have brought it up.
18   Q.   Would that have been part of her training?
19   A.   I don't know if she was called on a
20               medical emergency or if she was
21               called to come up and evaluate
22               somebody.
23   Q.   If it was a medical emergency --
24   A.   I'm going to say if they called a medical
25               emergency she would have brought it


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 1             up.    If they called her to come up to
 2             evaluate somebody, she might have
 3             just walked up and said, "Okay, go
 4             down and get my bag.     I didn't bring
 5             it."    So, there's different
 6             scenarios.
 7                    If they're called to see
 8             somebody over in booking they're not
 9             bringing their medical bag.        A lot of
10             times someone else's evaluation
11             before they get there is not
12             accurate.    So, if they say, "Come up
13             and look at somebody," they go up and
14             look at somebody.     If they call a
15             medical emergency, they're bringing a
16             bag with them.    There's a difference.
17             They don't bring that medical bag
18             everywhere they go.     It's not
19             strapped to them like that.
20   Q.   And the person that would be determining
21             whether or not it was an emergency
22             would be corrections officers; is
23             that correct?
24   A.   They would be the ones to make the phone
25             call that they need somebody to come


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 1               and look at somebody.
 2   Q.   So, the medical assistant, in this case
 3               Medical Assistant Hake, is not on the
 4               floor when she received the call;
 5               right?
 6   A.   No.    She's in medical.
 7   Q.   So, the only person that could relay to
 8               her the significance of the event,
 9               whether or not it was an emergency or
10               not, would be the corrections
11               officers who are physically observing
12               Mr. Wright; is that correct?
13   A.   Right.
14   Q.   So, they indicated it was an emergency;
15               then, she should have come prepared
16               to deal with that emergency.     Is that
17               correct?
18   A.   Yes.
19   Q.   If I understand you, you said that the
20               COWS was not used on both occasions;
21               that Medical Assistant Hake tended to
22               Greg Wright because he refused
23               medical attention.   Is that what your
24               testimony is?
25   A.   His signs and symptoms might not have


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 1             warranted to start the COWS report.
 2             Everybody doesn't start on the COWS
 3             report from day one.     They go through
 4             the signs and symptoms; and, if they
 5             continue to worsen then the COWS
 6             report is established.
 7                  So, her initial was to alleviate
 8             his systems by giving him the
 9             Ibuprofen, the Maalox, and -- the
10             three cocktails.
11   Q.   But, where Medical Assistant Hake has
12             indicated that he is having opiate
13             withdrawal, the COWS is for the
14             purpose of opiate withdrawal; is that
15             correct?
16   A.   The COWS is for the purpose of the mild to
17             moderate and severe cases of COWS.
18             It's not used on everybody.
19             Everybody's heroin use is different.
20                  If you would like to walk back
21             to medical now, we have a numerous
22             amount of people withdrawing from
23             heroin that are just on the three
24             medications that get them through
25             their symptoms.    It depends on what


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 1               they're using.    If someone is using
 2               an enormous amount, a long-term
 3               amount of heroin, their withdrawals
 4               are sometimes worse than the guy
 5               that's not using as much.
 6   Q.   But, the score on this takes that into
 7               consideration.    Is that correct?
 8   A.   Yes.
 9   Q.   So, if she believed and indicates that a
10               knowledge that Mr. Wright is going
11               through opiate withdrawal, that
12               Mr. Wright is experiencing medical
13               complications regardless of the
14               severity, you're indicating that that
15               would not necessitate Medical
16               Assistant Hake to fill out this form
17               so that she could call you and
18               indicate the level of severity of his
19               withdrawal?
20   A.   She wouldn't be able to fill out this
21               report due to the patient's
22               non-compliance.    She was unable to do
23               the vital signs, which means she
24               wouldn't be able to look at his pupil
25               size.   She wouldn't be able to do a


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 1                thorough assessment on the inmate
 2                because of his combativeness.
 3   Q.   Okay.     If we go down to the box above
 4                "Score," where it says "Anxiety or
 5                irritability," on 4, "Inmate so
 6                irritable or anxious that
 7                participation in the assessment is
 8                difficult."   Would you say that that
 9                covers "uncooperative"?
10   A.   No.
11   Q.   It doesn't?
12   A.   No.
13   Q.   Does Carla Ahart ever indicate to you
14                whether or not she has given a formal
15                training session involving
16                documentation, materials, a sit-down
17                training session with your employees?
18   A.   She notifies me after she completed the
19                whole training assessment and
20                somebody is ready to be hired -- or
21                if they need more training.     She'll
22                say, "We have to extend her one more
23                week because we weren't able to get
24                through whatever."   It happens very
25                seldomly, but it does happen.


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 1   Q.   Are you aware that the standards require a
 2                continuing education of your
 3                employees?
 4   A.   I'm not sure that I know that.
 5   Q.   Okay.     If you go to page 33, "Continuous
 6                Quality Improvement Program."     Are
 7                you familiar --
 8   A.   Which one is that?
 9   Q.   It would be (S).     Do you have a continuous
10                quality improvement program?
11   A.   Yes.
12   Q.   And where would that be maintained?
13   A.   This was discussed with myself and Carla
14                going over the healthcare, the chart
15                reviews, making sure that they are
16                documenting and charting right.
17                     The emergency care and
18                hospitalization system is tracked by
19                the County, including the deaths and
20                periodic review of -- we evaluate
21                charts randomly.
22   Q.   Okay.     Where, specifically, is your
23                written continuous quality
24                improvement system in regards to
25                emergency care and hospitalizations


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 1             as set forth in (S) of the standards?
 2   A.   It's currently being done.    There's
 3             nothing that says it's written.
 4   Q.   It's your position that it doesn't have to
 5             be in writing?
 6   A.   I have to say that -- well, the jail
 7             health and mental health, that's all
 8             in a care system with sick call.         The
 9             hospitalizations and emergency care
10             is documented when they leave.       The
11             deaths are documented.    I would have
12             to say the periodic chart review is
13             the only one that's not documented
14             because she'll pull them randomly and
15             go through to make sure documentation
16             is done, evaluations are thorough.
17                  That's double checked when they
18             go through the audit.    Now, they
19             might have a written system.       The
20             only thing we keep is the mental
21             health and the care part, along with
22             emergency and hospitalizations is
23             documented in the patient's chart.
24                  There's no one listed place that
25             is going to find that we have "X"


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 1                amount of hospitalizations, "X"
 2                amount of deaths through medical.
 3                It's going to be done through the
 4                jail administration.
 5   Q.   Okay.
 6   A.   These are all numbers that they have.        The
 7                sick call, the mental health and
 8                dental, all that -- quality assurance
 9                program -- is done because it's part
10                of what we do every day; but, I'm not
11                sure if there's a written -- other
12                than you could pull the inmates that
13                are seen on a regular basis, the
14                dental list, the mental health, that
15                are seen by Rick Bassett that are
16                seen through Valley.   That's all
17                documented through medical; but,
18                there's not one single piece of paper
19                that shows it all, if that's what
20                you're looking for.
21   Q.   It's all about what you're looking for.        I
22                mean, you're answering the questions.
23   A.   Not to interrupt you; but, the
24                timelessness and the appropriateness
25                of clinical care, that would be


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 1                documented by -- the inmate puts in a
 2                request today and he sees me tomorrow
 3                or the next day.     That would be how
 4                they keep track that, you know,
 5                somebody is not putting in a form and
 6                they are seeing me three weeks later.
 7                They're seeing me the next day or the
 8                day after.
 9                     Remember we talked about the
10                sick call that they fill out?     When
11                they see the dentist or they see me,
12                it's documented in their chart review
13                what day they were seen.
14   Q.   Okay.     If you go to (T) it says,
15                "Emergency Response Plan --     The
16                health aspects of the emergency
17                response plan.     Emergency medical
18                care, including first aid and basic
19                life support is provided by all
20                healthcare professionals and those
21                health-trained correctional staff
22                specifically designated by the jail
23                administrator."     Are there
24                health-trained correctional staff
25                specifically designated by the jail


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 1               administrator, to your knowledge?
 2   A.   No.
 3   Q.   "All staff" -- it continues to read, "All
 4               staff responding to medical
 5               emergencies are certified in
 6               cardiopulmonary resuscitation in
 7               accordance with the recommendations
 8               of certifying health organizations."
 9               Are all your staff certified in CPR?
10   A.   Yes.    And I think it's every two years.
11               They go through a class at the
12               office.    I know that's a bi-annual
13               thing.
14   Q.   Do they have records of being certified in
15               CPR?
16   A.   Uh huh.
17                      MS. HOHENBERGER:   Yes?
18   A.   Yes, from the American Red Cross.
19   Q.   Let's go to (U).      It says, "Continuing
20               Education for Health Trained
21               Personnel."
22                      "All qualified healthcare
23               professionals participate annually in
24               continuing education appropriate for
25               their position."    Do you have that?


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 1   A.   Yes.
 2   Q.   And where is that documented?
 3   A.   Well, I'm the only healthcare
 4                professional.
 5   Q.   So, you do not consider medical assistants
 6                as healthcare professionals?
 7   A.   Healthcare professionals are physicians.
 8   Q.   Okay.     If you go to page 2302 of
 9                Exhibit 6 -- have you seen that?
10   A.   I have it -- 6.       What page?
11   Q.   It's the last page, 2302.
12   A.   Okay.
13   Q.   On 2302, 5120:1-8-09, (U) listed as
14                essential.    It says, "Continuing
15                education for health-trained
16                personnel."     Now, would you consider
17                your medical assistants to be
18                health-trained personnel?
19   A.   I interpret this as like the dentist and
20                the psychiatrist that comes in.      "All
21                qualified healthcare professionals
22                participate annually in continuing
23                education appropriate for their
24                position."
25   Q.   Okay.     And you are current on your


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 1               continuing education; correct?
 2   A.   Correct.
 3   Q.   And if you read in the comments, "At the
 4               time of inspection the jail's current
 5               policy and procedures need updated to
 6               reflect this standard and components
 7               specified.    Additionally, supporting
 8               documentation to support this
 9               standard was not made available to
10               evidence compliance."    You did not
11               provide them with your continuing
12               education?
13   A.   No, I never did.      And I know the dentist
14               has not, either.
15   Q.   So, you believe this to be only applicable
16               to you and other physicians?
17   A.   When I interpret the word "professional" I
18               interpret it as "physician."     I don't
19               consider a medical assistant as being
20               a professional.
21   Q.   What about health-trained personnel?       Do
22               you consider that to be only
23               physicians?
24   A.   Yes.    In the current language the
25               physicians are no longer considered


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 1               physicians.     If you call the hospital
 2               and you ask, "What's your terminology
 3               for physicians today," it's
 4               health-trained personnel.        We are no
 5               longer physicians.
 6                    If you want to see a contract
 7               with like an insurance company, we
 8               are stated the same way.     And, I
 9               think that's because it draws into
10               the nurse practitioners, the
11               physician assistants that were
12               continued as health-trained
13               personnel.
14   Q.   Is a physician assistant considered a
15               healthcare professional?
16   A.   Yes.
17   Q.   What is the distinction that you believe
18               that makes you -- because a physician
19               assistant is not the level that you
20               are; is that correct?
21   A.   A health-trained personnel is, like a
22               dentist -- someone who is practicing
23               medicine.     And, a physician
24               assistant, along with a nurse
25               practitioner are qualified to


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 1                practice medicine.
 2                     They are able to diagnose.     They
 3                are able to write prescriptions.
 4                They are able to do everything a
 5                physician can do.
 6   Q.   Okay.     So, under that thought process then
 7                you do not believe that there's a
 8                standard that requires continual
 9                training for medical assistants.     Is
10                that correct?
11   A.   Like I said earlier, the training that
12                they get -- the extra training
13                through myself and Carla on a
14                one-on-one basis is the only training
15                that I am acknowledging that they do
16                outside of the office.
17   Q.   And you do not believe that it is mandated
18                that they have continuing education
19                on an annual basis.   Is that correct?
20   A.   Well, other than like their CPR
21                certification -- the update.     That's
22                all the stuff they need to require to
23                maintain their medical assistant
24                certification.
25   Q.   But that you specifically, as the health


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 1               authority at Trumbull County Jail,
 2               have no requirement for training,
 3               annual training or continuing
 4               education for medical assistants.      Is
 5               that correct?
 6   A.   No.    Correct.
 7   Q.   How often are you at Trumbull County Jail
 8               during a week's time?
 9   A.   Between five and ten times.
10   Q.   How many inmates are there in Trumbull
11               County Jail?
12                    MS. HOHENBERGER:     Currently?
13   A.   332.
14   Q.   In May of 2017 were there over 250?
15   A.   Our average population has been over 300
16               for the whole year.     From January 1,
17               2017, to December 31, 2017, our base
18               was over 320 on average.
19   Q.   Under the standards of governing operation
20               of the jail how many times are you
21               required to do sick call per week?
22   A.   Daily.
23   Q.   Do you do sick call daily?
24   A.   Minimum, yes.
25   Q.   So, you're there every day?


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 1   A.   I'm here every day; but, if there's no one
 2                to be seen on my sick-call list, if
 3                I'm not seeing anybody, I might be
 4                doing charts, going over evaluations,
 5                looking at reports from faxes, labs.
 6                Not every day is there patient
 7                contact.
 8   Q.   But you are there every day?
 9   A.   Sometimes two, sometimes three times a
10                day.
11   Q.   Okay.     What do you consider to be
12                delegation of responsibilities?
13   A.   Can you elaborate on that a little bit
14                more?
15   Q.   As a physician, you can only delegate --
16                you cannot delegate tasks to a
17                medical assistant that they are not
18                competent to perform; is that
19                correct?
20   A.   Correct.
21   Q.   What is the limitation of the competency
22                of the medical assistant, if you
23                know?
24   A.   Basically, they are just like ears and
25                voices down here -- eyes -- to relay


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 1             messages to me for me to make a
 2             decision.
 3                  It's almost like a nursing home.
 4             If there's not a physician available
 5             there's medical assistants and staff
 6             that find out what's wrong with the
 7             patient.     Same thing in a
 8             correctional setting.
 9   Q.   Do you have a system in place that ensures
10             that medical assistants contact you
11             in regard to inmate medical
12             conditions when they should?
13   A.   That's part of their training.        I mean,
14             they call me regularly numerous times
15             a day.     There's always that
16             continuity of care.     When somebody
17             comes in, if they're allowed to have
18             medication, like I said, that you're
19             familiar with.     And, if there's an
20             issue, they call me.
21                  If somebody gets in a fight,
22             somebody sprains their ankle, they
23             call me.
24   Q.   Did anyone call you in regards to Inmate
25             Wright other than to obtain your


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 1              permission for Xarelto?
 2   A.   No.
 3   Q.   After your review of the records should
 4              they have called you?
 5   A.   No.
 6   Q.   And why would you say they should not have
 7              called you?
 8   A.   There was no other information that was
 9              obtainable for me to make any
10              decisions.
11   Q.   Her inability to take vitals would not
12              have prompted her to call you and
13              say, "There's an inmate in medical
14              distress.     I'm unable to take his
15              vitals.     What should I do, Doctor?"
16              You would not have expected that?
17                   MS. HOHENBERGER:     Objection.
18   A.   What distress?
19   Q.   The distress that caused the corrections
20              officer to call her to advise her
21              that there was a medical emergency
22              that she needed to attend to.
23                   MS. HOHENBERGER:     Objection.
24   A.   I'm not sure if I understand the question.
25   Q.   You would agree that something prompted


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 1               the corrections officer to call the
 2               medical department?
 3   A.   Yes.
 4   Q.   After your review of the records, what do
 5               you believe prompted them to do that?
 6                    MS. HOHENBERGER:     Objection.
 7   A.   I don't know.
 8   Q.   You read the records; didn't you?
 9   A.   Yes.
10   Q.   You just don't recall, or --
11   A.   No.    I don't recall.
12   (WHEREUPON A RECESS WAS TAKEN AT 1:16 PM AND
13   TESTIMONY RESUMED AT 1:23 PM)
14   BY MR. RUCKER:
15   Q.   Doctor, can withdrawal be a serious
16               medical condition?
17   A.   It could be.
18   Q.   -- from drugs?    It could be?
19   A.   Yes.
20   Q.   Is a medical assistant qualified to make
21               that assessment?
22   A.   Yes.
23   Q.   And you do not believe that that would be
24               a diagnosis?
25   A.   Signs and symptoms only.


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 1   Q.   Signs and symptoms is a large part of how
 2               you operate the Trumbull County Jail
 3               medical department.    Is that correct?
 4   A.   Yes.
 5   Q.   Did you have a chance to review the
 6               autopsy report of Mr. Wright?
 7   A.   No.
 8   Q.   You did not make -- did you do an
 9               investigation after his death as to
10               the procedures that the medical
11               assistants who were employed and came
12               into contact with Mr. Wright, whether
13               they were appropriate conduct or
14               inappropriate conduct?
15   A.   Carla reviewed that with them and then she
16               reviewed it with me.
17   Q.   But you never, yourself, talked to the
18               medical assistants and reviewed their
19               own conduct with them?
20   A.   I think we had conversations when the
21               incident happened and maybe shortly
22               after.
23   Q.   Was Medical Assistant Hake terminated?
24   A.   I'm not sure.
25   Q.   Does someone, other than you, have the


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 1              ability to terminate an employee from
 2              the Trumbull County Jail?
 3   A.   Carla handles that.
 4   Q.   She would not have discussed that with you
 5              as to whether or not she was going to
 6              terminate someone?
 7   A.   No.
 8   Q.   What was cause of death for Mr. Gregory
 9              Wright, to your knowledge?
10   A.   I'm not sure.
11   (WHEREUPON A RECESS WAS TAKEN AT 1:25 PM AND
12   TESTIMONY RESUMED AT 1:30 PM)
13   BY MR. RUCKER:
14   Q.   Doctor, could you tell me, what is the
15              difference between a diagnosis and an
16              assessment?
17   A.   A diagnosis is something that a physician,
18              physician assistant, medical nurse
19              practitioner makes.   An assessment is
20              just an evaluation of a general --
21              nausea, someone is nauseous,
22              someone's vomiting, someone has a
23              headache.
24   Q.   Does treatment come out of an assessment?
25   A.   A plan comes out of an assessment.


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 1   Q.   Not an implementation, but a plan; is that
 2             correct?
 3   A.   A plan.
 4   Q.   Would I be correct in saying
 5             implementation comes out of
 6             diagnoses?
 7                   MS. HOHENBERGER:    Objection.
 8   A.   If you could kind of --
 9   Q.   Can treatment come out of an assessment?
10   A.   An assessment -- a plan comes out of an
11             assessment.   Like, if your assessment
12             is somebody has a headache, your plan
13             could be Tylenol, Motrin.
14   Q.   In regards to medical assistants, can they
15             make assessments?
16   A.   They can draw an assumption from what
17             their symptoms are; but, nothing
18             that's more like diagnosis or
19             treatment.
20   Q.   So, they can form an opinion?
21   A.   Correct.
22   Q.   But they need to take that opinion to you;
23             is that correct?
24   A.   For a plan of action.
25   Q.   If a medical assistant makes a statement,


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 1             he's just faking because he doesn't
 2             want to go to prison, he doesn't want
 3             to be transported to prison, what
 4             would you say that was?
 5                     MS. HOHENBERGER:   Objection.
 6   Q.   Is that an assessment?
 7   A.   An evaluation.
 8   Q.   What kind of basis would you look for in
 9             that type of evaluation as a medical
10             assistant?
11   A.   In a corrections facility, of course,
12             their main objective is not to be
13             here.     So, they do have strategic
14             plans for not staying further in a
15             jail or prison setting.
16   Q.   Would you expect that they would take some
17             vitals or things along that line to
18             determine whether or not that's a
19             true statement?
20   A.   Vitals are always very important in the
21             initiation of an inmate; as long as
22             it doesn't put the girls at risk of
23             somebody that's going to be forceful
24             with them.
25                     Once again, these girls are


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 1             threatened on a regular basis from
 2             these guys; and, our policy is not to
 3             put yourself in harm's way, not to be
 4             struck at.
 5                  There's been episodes where
 6             these girls are swung on.     They are
 7             insulted on a daily basis, as you
 8             know, being in a correctional
 9             setting.     Derogatory comments from
10             inmates to the staff is done
11             regularly.
12                  So, when an inmate refuses
13             anything, any type of treatment, they
14             are not forced to initiate any
15             confrontation that's going to result
16             in an injury, for their protection.
17                  MR. RUCKER:     All right.   I don't
18   have any further questions.
19                  MS. HOHENBERGER:     He'll read.
20   (WHEREUPON THE DEPOSITION OF PHILLIP MALVASI,
21   D.O., WAS CONCLUDED AT 1:35 PM AND IT WAS AGREED
22   BY AND BETWEEN COUNSEL AND THE PARTIES THAT THE
23   DEPONENT WILL READ AND SIGN THE TRANSCRIPT OF
24   SAID DEPOSITION)
25


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 1                   REPORTER'S CERTIFICATE
 2                I, Micheline Simoni, a Notary Public
 3   within and for the State of Ohio, do certify
 4   that Phillip Malvasi, D.O., was duly sworn to
 5   testify the truth, that this deposition was
 6   written in the presence of the witness and by
 7   me transcribed, and that the deposition was
 8   taken at the time and place in the notice
 9   specified.
10                I certify that I am not a relative,
11   employee, or attorney for the parties in this
12   action; I am not a relative or employee of an
13   attorney for the parties in this action; I have
14   no financial interest in this action; and I am
15   not, nor is the firm with which I am
16   affiliated, under a contract as defined in
17   Civil Rule 28(D).
18                I further certify that the foregoing
19   is a complete transcript of all the proceedings
20   had in this deposition, written in the presence
21   of the witness at the time of this deposition.
22        I have set my hand and Seal of Office at
23   Warren, Ohio, this 18th day of August, 2018.
24                     ______________________________
                       Micheline Simoni, Notary Public
25                     My Commission Expires 1-5-19


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 1                     CORRECTION SHEET
 2
 3   PG. LN.    NOW READS    SHOULD READ      REASON
 4   __   __    _________    ___________   _____________
 5   __   __    _________    ___________   _____________
 6   __   __    _________    ___________   _____________
 7   __   __    _________    ___________   _____________
 8   __   __    _________    ___________   _____________
 9   __   __    _________    ___________   _____________
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20   __   __    _________    ___________   _____________
21   __   __    _________    ___________   _____________
22   __   __    _________    ___________   _____________
23
24   _________________________        DATE:____________
25   PHILLIP MALVASI, D.O.


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 1
 2
 3
 4                    SIGNATURE PAGE
 5        I, PHILLIP MALVASI, D.O., have read the
 6   foregoing deposition or the deposition has been
 7   read to me.   I request that the changes
 8   specified on page 130 be entered upon the
 9   record for the reasons indicated.     I have
10   signed my name to the Correction Sheet and this
11   Signature Page and I authorize the reporter to
12   attach both to the original transcript.
13   ____________________________      DATE:___________
14   PHILLIP MALVASI, D.O.
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                           12/22                    6:00 in [1] 54/3            97/14                     alleviate [3] 29/8 29/12
                          2000 [1] 9/10             6A [1] 78/8                administer [4] 16/9         107/7
MR. RUCKER: [8] 10/2
                          2001 [1] 9/10                                         19/25 20/4 28/21          allow [1] 7/5
 17/23 56/16 69/9 82/12                             8
                          2011 [1] 84/6                                        administration [3]         allowed [12] 27/9 32/4
 88/14 90/7 128/16
                          2016 [2] 81/1 90/1        8-28-16 [1] 17/23           10/14 56/8 112/4           32/6 32/7 32/10 32/11
MS. HOHENBERGER:
                          2017 [12] 9/14 9/24       8-3-17 [2] 11/1 12/2       administrative [1]          32/13 32/20 65/3 77/17
[37] 9/25 17/21 28/3
                           15/21 21/12 37/19        80 [5] 57/8 57/17 65/9      97/17                      78/23 121/17
 31/23 32/4 32/14 36/21
                           37/21 59/11 85/20         65/12 65/13               administrator [7] 85/1     almost [1] 121/3
 56/14 60/6 60/16 68/2
                           89/24 119/14 119/17      80-week [1] 58/24           93/1 94/5 95/15 96/21     along [5] 7/14 78/20
 69/5 69/12 72/23 74/8
                           119/17                   8:00 [2] 14/6 14/6          113/23 114/1               111/21 117/24 127/17
 77/12 78/5 82/10 82/20
                          2018 [2] 1/16 129/23      8:00 a.m [4] 12/4 13/3     administrators [1]         already [2] 6/11 62/9
 83/17 85/17 90/6 90/9
                          2299 [1] 91/11             13/6 13/12                 96/20                     also [3] 12/14 82/4
 92/17 94/16 96/2 96/16
                          2302 [3] 115/8 115/11     8:00 p.m [3] 13/3 13/7     admission [2] 10/13         93/20
 100/19 101/5 114/16
                           115/13                    13/13                      91/25                     alternative [1] 41/25
 119/11 122/16 122/22
                          2330 [1] 2/14             8A [1] 12/3                advanced [1] 51/12         alternatives [3] 41/12
 123/5 126/6 127/4
                          24-7 [1] 83/5                                        adverse [1] 40/12           41/14 41/16
 128/18
                          24/7 [1] 86/3             9                          Advil [2] 38/21 42/20      Altier [1] 85/11
MS. RUBRIGHT: [6]                                   90 [1] 12/1
                          250 [1] 119/14                                       advise [1] 122/20          always [9] 7/11 48/6
 69/7 74/10 74/15 86/13                             96 [1] 104/14
                          27 [4] 90/3 94/13 94/23                              aerosol [1] 75/10           82/1 82/1 83/19 86/3
 88/12 88/16
                           95/16                                               affiliated [2] 53/11        86/4 121/15 127/20
                                                    A
'                         28 [1] 129/17                                         129/16                    Ambrose [1] 2/7
                                                    a.m [9] 12/4 13/3 13/6     aforesaid [1] 1/22         ambulate [1] 47/17
'I'm [1] 21/17            3                          13/12 14/6 21/14 54/25    after [20] 33/13 39/22     American [2] 63/9
0                         30 [3] 11/7 11/25 14/10    79/7 79/8                  50/19 54/7 59/24 61/4      114/18
                          30 percent [4] 53/17      ABC [1] 65/15               70/4 72/13 85/2 89/12     amount [6] 27/10
02383 [1] 1/5
                           53/18 53/21 53/23        ability [2] 51/22 125/1     92/6 102/9 102/20          107/22 108/2 108/3
09 [2] 94/20 115/13
                          300 [1] 119/15            able [11] 61/5 77/5 77/7    104/15 109/18 113/8        112/1 112/2
09A [1] 93/20
                          31 [2] 15/24 119/17        103/10 108/20 108/24       122/3 123/4 124/9         Amy [2] 30/22 31/8
09B [1] 91/12
                          320 [1] 119/18             108/25 109/23 118/2        124/22                    anaphylactic [1] 44/1
09W [1] 99/15
                          33 [2] 97/19 110/5         118/3 118/4               afternoon [1] 80/8         and/or [1] 93/24
1                         332 [1] 119/13            about [16] 17/23 33/18     afternoons [1] 86/11       ankle [3] 30/8 71/19
                          34305 [1] 2/9              37/6 39/23 41/21 56/16    again [6] 69/14 85/11       121/22
1-5-19 [1] 129/25
                          36 [5] 100/8 100/9         56/23 58/23 69/14          95/14 96/5 100/21         annotated [4] 38/4 38/7
10 [1] 2/3
                           100/11 100/25 102/7       73/25 82/12 88/14          127/25                     43/13 57/16
100 [1] 2/8
                                                     91/21 112/21 113/9        agency [1] 94/5            annotation [1] 25/16
101 [1] 56/1              4                          116/21                    ago [1] 36/9               annual [4] 95/6 114/12
1017 [1] 30/15
                          40 [3] 52/24 53/2 53/4    above [2] 102/6 109/3      agree [5] 74/20 95/24       118/19 119/3
10:10 [1] 1/17
                          40 percent [2] 53/8       absence [1] 85/8            96/1 96/12 122/25         annually [2] 114/23
10P [1] 78/8
                           53/14                    acceptance [2] 91/19       AGREED [1] 128/21           115/22
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                          44114 [1] 2/15             91/24                     agreement [2] 1/21         another [5] 13/6 14/23
11:43 [1] 58/16
                          44139 [1] 2/9             accessible [1] 95/12        94/1                       61/12 61/14 61/18
12 [1] 101/22
                          44481 [1] 1/19            accident [1] 46/17         Ahart [7] 14/21 50/16      answer [3] 6/11 7/10
12:15 [1] 21/14
                          44483 [1] 2/4             accordance [4] 1/20         51/4 55/5 80/9 85/16       7/12
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                          4th [1] 12/13             according [2] 6/3 15/23    ahead [1] 94/19            answers [1] 6/15
15 [2] 102/9 102/11
                                                    accurate [7] 60/16         aid [1] 113/18             anti [2] 38/20 39/1
150 [1] 1/18              5                          60/22 60/24 62/4 71/21    alcohol [4] 73/20 73/22    anti-inflammatory [2]
1569 [1] 2/3
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16 [1] 17/23
                          5-5-17 [4] 12/17 12/18    acetaminophen [3]          alert [6] 21/22 21/23      antibiotic [1] 17/12
160 [2] 59/6 65/13
                           13/24 14/11               42/12 42/15 42/21          22/1 25/3 25/12 101/1     anticoagulant [6]
17 [9] 10/22 11/1 12/2
                          5120 [1] 91/10            acetaminophens [2]         Aleve [2] 38/21 42/20       36/24 37/8 37/10 38/17
 12/17 12/18 13/24
                          5120:1-8-09 [2] 94/20      42/8 42/24                all [32] 14/8 42/6 42/10    39/7 45/1
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                           115/13                   acknowledging [1]           42/14 48/20 57/8 59/15    anticoagulants [2]
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                          5120:1-8-09A [1] 93/20     118/15                     60/3 64/15 67/12 70/17     40/5 45/25
180 [1] 59/6
                          5120:1-8-09B [1] 91/12    across [1] 17/10            77/7 77/16 86/6 95/5      Anxiety [1] 109/4
18th [1] 129/23
                          5120:1-8-09W [1] 99/15    action [8] 1/22 6/10        101/13 101/19 111/7       anxious [2] 44/18
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                           79/18                    actions [2] 95/18 96/6      114/3 114/3 114/9          9/15 9/19 9/21 13/17
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                          5th [1] 12/14             activity [2] 65/24 65/24    114/22 115/20 118/22       20/4 25/20 30/5 33/23
1:30 [1] 125/12
                                                    actual [2] 35/9 94/14       128/17 129/19              36/17 40/4 40/15 44/14
1:35 [1] 128/21           6                         actually [3] 35/1 49/10    allergic [1] 42/14          45/20 48/2 49/18 49/22
2                       60 [1] 52/22                 63/16                     allergies [3] 17/4 18/6     50/11 51/9 51/12 62/6
                        60 percent [1] 53/9         acute [1] 47/11             43/25                      69/3 70/13 72/8 75/16
20 [4] 24/15 33/20
                        600 [1] 2/14                additionally [2] 92/10     allergy [8] 41/19 42/2      89/7 93/10 100/25
 102/9 102/11
                        6:00 [2] 54/10 78/9          116/7                      42/11 43/2 43/4 43/14      101/10 122/9 128/13
20 milligrams [1] 11/12
                        6:00 a.m [2] 79/7 79/8      addressed [2] 47/19         43/21 67/21                128/14 128/18
200 milligrams [1]
A                        107/11 108/16 116/19     36/5 36/11 81/1 85/16 believes [1] 102/3            102/11 102/12 102/14
                         117/14 117/19 117/24     107/20                  benefit [1] 86/9            102/21 105/14 105/25
anybody [4] 25/7 33/20
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49/13 75/12 87/11                                  74/7 75/13 75/19 78/22
                         93/14 97/9 118/3
87/16 94/14 100/23
